               Case 2:21-cv-09590-MCS-MAA Document 1-1 Filed 12/10/21 Page 1 of 79 Page ID #:16



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                   2      Jacob Krall, Bar No. 296078
                          jkrall@littler.com
                   3      LITTLER MENDELSON P.C.
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                          Los Angeles, California 90071
                   5      Telephone: (213) 443-4300
                          Fax No.: (213) 442-4299
                   6
                   7      Attorneys for Defendants
                          ARGUS CONTRACTING, LP AND IREX
                   8      CORPORATION
                   9
                                                            UNITED STATES DISTRICT COURT
                10
                                                           CENTRAL DISTRICT OF CALIFORNIA
                11
                12
                          JUANA ELISA CARRILLO GEIZ,                        Case No. 2:21-cv-09590
                13        individually and on behalf of all others
                          similarly situated,                               DECLARATION OF REBECCA
                14                                                          ARAGON IN SUPPORT OF
                                                  Plaintiff,                NOTICE TO FEDERAL COURT
                15                                                          OF REMOVAL OF CIVIL
                                   v.                                       ACTION FROM STATE COURT
                16
                          ARGUS CONTRACTING LP, a                           [Filed concurrently with the Notice of
                17        California limited partnership; IREX              Removal; Declaration of Craig E.
                          CORPORATION, a Pennsylvania                       Skeie, Notice of Related Cases, Notice
                18        corporation; and DOES 1 through 10,               of Interested Parties; Civil Case Cover
                          inclusive,                                        Sheet, Disclosure Statement]
                19
                                                  Defendants.               Complaint Filed: October 26, 2021
                20
                21
                22
                23
                24
                25
                26
                27
                28
LITTLER MENDELSON P.C.    4876-8940-4165.1 / 083674-1008
    18565 Jamboree Road
           Suite 800
      Irvine, CA 92612
        949.705.3000
                                                                        1
               Case 2:21-cv-09590-MCS-MAA Document 1-1 Filed 12/10/21 Page 2 of 79 Page ID #:17



                   1                                       DECLARATION OF REBECCA ARAGON
                   2               I, Rebecca Aragon, declare as follows:
                   3               1.        I am an attorney at law, licensed to practice in the State of California and
                   4      before this Court. I am a shareholder with the law firm Littler Mendelson P.C., and one
                   5      of the attorneys representing Defendants Argus Contracting LP and Irex Corporation
                   6      (collectively, “Defendants”) in this action. I have personal knowledge of the facts set
                   7      forth below and, if called upon to testify regarding the matters contained in this
                   8      Declaration, I could and would competently do so.
                   9               2.        Attached hereto as Exhibit A is the Complaint, Summons, Civil Case
                10        Cover Sheet, Notice of Case Assignment, and ADR Package in this case, which was
                11        served on Defendant Argus Contracting LP on November 10, 2021.
                12                 3.        Attached hereto as Exhibit B is the Notice of Initial Status Conference that
                13        was served on Defendants herein.
                14                 4.        Attached hereto as Exhibit C are the Proofs of Service of the Summons
                15        and Complaint that Plaintiff filed on November 11, 2021.
                16                 5.        Attached hereto as Exhibit D is the Answer filed by Defendants in the
                17        instant case.
                18                 6.        To my knowledge, Exhibits A-D attached hereto constitute all process,
                19        pleadings, and orders filed and served upon Defendants in this action.
                20                 I declare under penalty of perjury under the laws of the United States of America
                21        that the foregoing is true and correct.
                22
                23                 Executed at Los Angeles, California on this December 10, 2021.
                24
                25
                                                                              Rebecca Aragon
                26
                27
                28
LITTLER M ENDELSON P.C.   4876-8940-4165.1 / 083674-1008
    18565 Jamboree Road
           Suite 800
      Irvine, CA 92612
        949.705.3000
                                                                          2
Case 2:21-cv-09590-MCS-MAA Document 1-1 Filed 12/10/21 Page 3 of 79 Page ID #:18




               EXHIBIT “A”
Case 2:21-cv-09590-MCS-MAA Document 1-1 Filed 12/10/21 Page 4 of 79 Page ID #:19

                                                                           Service of Process
                                                                           Transmittal
                                                                           11/10/2021
                                                                           CT Log Number 540565391
     TO:     James E Hipolit, VP & Gen Csl
             Irex Corporation
             120 N LIME ST
             LANCASTER, PA 17602-2923

     RE:     Process Served in California

     FOR:    Argus Contracting LP (Domestic State: CA)




     ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

     TITLE OF ACTION:                 Re: JUANA ELISA CARRILLO GEIZ, individually, and on behalf of all others similarly
                                      situated // To: Argus Contracting LP
     DOCUMENT(S) SERVED:              --
     COURT/AGENCY:                    None Specified
                                      Case # 21STCV39553
     NATURE OF ACTION:                Employee Litigation
     ON WHOM PROCESS WAS SERVED:      C T Corporation System, GLENDALE, CA
     DATE AND HOUR OF SERVICE:        By Process Server on 11/10/2021 at 01:26
     JURISDICTION SERVED :            California
     APPEARANCE OR ANSWER DUE:        None Specified
     ATTORNEY(S) / SENDER(S):         None Specified
     ACTION ITEMS:                    CT has retained the current log, Retain Date: 11/10/2021, Expected Purge Date:
                                      11/15/2021

                                      Image SOP

                                      Email Notification, James E Hipolit JHIPOLIT@IREXCORP.COM

                                      Email Notification, Diana Rambler drambler@irexcorp.com

                                      Email Notification, Lorraine Maxwell lshellen@irexcorp.com

                                      Email Notification, Angela Boyle aboyle@irexcorp.com
                                      Email Notification, Shana Nelling snelling@irexcorp.com

                                      Email Notification, Karen Lando klando@irexcorp.com

     REGISTERED AGENT ADDRESS:        C T Corporation System
                                      330 N BRAND BLVD
                                      STE 700
                                      GLENDALE, CA 91203
                                      866-401-8252
                                      EastTeam2@wolterskluwer.com




                                                                           Page 1 of 2 / MS
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                                                                                                         Service of Process
                                                                                                         Transmittal
                                                                                                         11/10/2021
                                                                                                         CT Log Number 540565391
     TO:         James E Hipolit, VP & Gen Csl
                 Irex Corporation
                 120 N LIME ST
                 LANCASTER, PA 17602-2923

     RE:         Process Served in California

     FOR:        Argus Contracting LP (Domestic State: CA)




     The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
     relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
     of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other
     advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
     therein.




                                                                                                         Page 2 of 2 / MS
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                                                             Wolters Kluwer

                           PROCESS SERVER DELIVERY DETAILS




Date:                        Wed, Nov 10, 2021

Server Name:                 GERARDO MARTINEZ




Entity Served                ARGUS CONTRACTING LP

Case Number                  21STCV39553

Jurisdiction                 CA




  1 1 11111111110111111111111111111 1 1 1
        Case 2:21-cv-09590-MCS-MAA Document 1-1 Filed 12/10/21 Page 7 of 79 Page ID #:22
Electronically FILED by Superior Court of California, County   of Los Angeles on loggravngggm Sherri R. Carter, Executive Officer/Clerk of Court, by R. Lozano,Deputy Clerk
                                                                                                                                                                 SUM-100

                                                  SUMMONS                                                                        (
                                                                                                                                     FOR COURT USE ONLY
                                                                                                                                  SOLO PARA USO DE LA CORTE)
                     (CITACION JUDICIAL)
   NOTICE TO DEFENDANT:
  (AVISO AL DEMANDADO):
   UA LGU- -CONRACTING LP, a California limited partnership; IREX CORPORATION,
           S
               -
    a Pennsylvania corporation; and DOES I through 10, inclusive,

   YOU ARE BEING SUED BY PLAINTIFF:
  (LO ESTA DEMANDANDO EL DEMANDANTE):
     JUANA ELISA CARRILLO GEIZ, individually, and on behalf of all
     others similarly situated,
      NOTICE) You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
      below.
        You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
     served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
     case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
     Online Self-Help Center (www.courtinfo.ca.gov/selthelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
     the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
      may be taken without further warning from the court.
         There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
     referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
     these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
    (www.courtinfo.ca.gov/selthelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
     costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
     plV1S01 Lo han demandado. Si no respond° dentro do 30 dias, Ia corto puede docidir on su contra sin oscuchor su version. Loa la informaciOn a
     continuacion.
        Tiene 30 DIAS DE CALENDARIO despues de que le entreguen esta citaciOn y papeles legates para presentar una respuesta por escrito en esta
     code y hacer que se entregue una copia al demandante. Una sada o una Ilamada telefOnica no lo protegen. Su respuesta por escrito tiene que ester
     en formato legal correcto si desea que procesen su caso en la code. Es posible que haya un form ulario que usted pueda usar para su respuesta.
     Puede encontrar estos formularios de la code y mas informaciOn en el Centro de Ayuda de las Codes de California (www.sucorte.ca.gov), en la
     biblioteca de leyes de su condado o en la code que le quede mas cerca. Si no puede pager la cuota de presentacion, pida al secretario de la sole
     quo lc de un formulario de exencion de pago do cuotas. Si no present° su respuesta o tiempo, puede perder el caso por incurnplimiento y la carts lc
     podra guitar su sue/do, dinero y bienes sin mas advertencia.
       Hay otros requisitos legates. Es recomendable que Ilame a un abogado inmediatamente. Si no conoce a un abogado, puede Ilamar a un servicio de
     remision a abogados. Si no puede pager a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de on
     programa de servicios legates sin fines de lucro. Puede encontrar estos grupos sin fines de lucre en el sitio web de California Legal Services,
    (www.lawhelpcalifornia.org), en el Centro de Ayuda de las Codes de California, (www.sucorte.ca.gov) o poniendose en contacto con la code o el
     colegio de abogados locales. AVISO: Par ley, la code tiene derecho a reclamar las cuotas y los costOs exentos por imponer un gravamen sabre
     cualquier recuperacion de $10,000 6 mas de valor recibida mediante un acuerdo o una concesiOn de arbitraje en un caso de derecho civil. Tiene que
     pager el gravamen de la code antes de que la code pueda desechar el caso.

   The name and address of the court is:                                                                              CASE NUMBER:
                                                                                                                     (NOmero del caso:
  (El nombre y direcci6n de la code es):              Los Angeles
                                                                                                                         21 S-1— CV 39553
    111 N. Hill Street
    Los Angeles, CA 90012
  The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
  (El nombre, la direcci6n ye!numero de telefono del abogado del demandante, o del demandante que no tiene abogado, es):
    Kane Moon, MOON & YANG APC, 1055W. 7th Street, Suite 1880, Los Angeles, CA 90017(213) 232-3128
                                                                                       Sherri R. Carter Executive Officer! Clerk of Court
  DATE:                                                                                  Clerk, by                                                               , Deputy
  (Fecha)            10/26/2021                                                          (Secretario)                     R. Lozano                               (Adjunto)
  (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
  (Para prueba de entrega de esta citation use el formulario Proof of Service of Summons,(POS-010)).
                                             NOTICE TO THE PERSON SERVED: You are served
    [SEAL]
                                             1. FT as an individual defendant.
                                             2. nl as the person sued under the fictitious name of (specify):



                                             3.          on behalf of (specify).      ARGUS CONTRACTING LP,a California limited partnership
                                                  under               CCP 416.10 (corporation)                        E7 CCP 416.60 (minor)
                                                                      CCP 416.20 (defunct corporation)                         CCP 416.70 (conservatee)
                                                                      CCP 416.40 (association or partnership) 71 CCP 416.90 (authorized person)

                                                                      other (specify):
                                             4.   FT      by personal delivery on (date):
                                                                                                                                                                    Page 1 of 1
    Form Adopted for Mandatory Use
      Judicial Council of California
                                                                                  SUMMONS                                                 Code of Civil Procedure §§412.20, 465
                                                                                                                                                            w ww.coudinfo.ca.gov
     SUM-100 [Rev. July 1.20091
        Case 2:21-cv-09590-MCS-MAA Document 1-1 Filed 12/10/21 Page 8 of 79 Page ID #:23
                                                                                 21STCV39553
                                   Assigned-for-all-purposes-to;-Spring-Street-Courthouse,_Judicial_Officer: Carolyn Kuhl


Electronically FIL   by Superior Court of California, County of Los Angeles on 10/26/2021 05:20 PM Sherri R. Carter, Executive Officer/Clerk of Court, by R Lozano,Deputy Clerk

                     Kane Moon (SBN 249834)
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                     Allen Feghali (SBN 301080)
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                     Los Angeles, California 90017
                     Telephone:(213) 232-3128
                     Facsimile:(213) 232-3125
             6
                     Attorneys for Plaintiff Juana Elisa Carrillo Geiz
              7

             8                                  SUPERIOR COURT OF THE STATE OF CALIFORNIA

             9                                                FOR THE COUNTY OF LOS ANGELES

            10
                     JUANA ELISA CARRILLO GEIZ, individually, Case No.: 21 81— CV 39'553
            11       and on behalf of all others similarly situated,
                                                                     CLASS ACTION COMPLAINT:
            12                       Plaintiff,
                                                                     1. Failure to Pay Minimum Wages [Cal. Lab.
            13                                                          Code §§ 204, 1194, 1 194.2, and 1 197];
                              VS.                                    2. Failure to Pay Overtime Compensation
            14                                                          [Cal. Lab. Code §§ 1194 and 1198];
                                                                     3. Failure to Provide Meal Periods [Cal. Lab.
            15       ARGUS CONRACTING LP, a California liMited          Code §§ 226.7, 512];
                     partnership; IREX CORPORATION, a                4. Failure to Authorize and Permit Rest
            16       Pennsylvania corporation; and DOES 1 through       Breaks [Cal. Lab. Code §§ 226.7];
                     1 0, inclusive,                                 5. Failure to Indemnify Necessary Business
            17                                                          Expenses [Cal. Lab. Code § 2802];
                                     Defendants                      6. Failure to Timely Pay Final Wages at
            18                                                          Termination [Cal. Lab. Code §§ 201-203];
                                                                     7. Failure to Provide Accurate Itemized
            19                                                          Wage Statements [Cal. Lab. Code § 226];
                                                                        and
           20                                                        8. Unfair Business Practices [Cal. Bus. &
                                                                        Prof. Code §§ 17200, et seq.].
           21
                                                                                                   DEMAND FOR JURY TRIAL
           22

           23

           24           „.

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                                                                         CLASS ACTION COMPLAINT
Case 2:21-cv-09590-MCS-MAA Document 1-1 Filed 12/10/21 Page 9 of 79 Page ID #:24




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  2   INTRODUCTION & PRELIMINARY STATEMENT                                   1

  3   THE PARTIES                                                            3

  4       A.   Plaintiff                                                     3

  5       B.   Defendants                                                    3

  6   ALLEGATIONS COMMON TO ALL CAUSES OF ACTION                             4

  7   CLASS ACTION ALLEGATIONS                                               8

  8   FIRST CAUSE OF ACTION                                                 12

  9   SECOND CAUSE OF ACTION                                                13

 10   THIRD CAUSE OF ACTION                                                 15

 11   FOURTH CAUSE OF ACTION                                                15

 12   FIFTH CAUSE OF ACTION                                                 16

 13   SIXTH CAUSE OF ACTION                                                 17

 14   SEVENTH CAUSE OF ACTION                                               18

 15   EIGHTH CAUSE OF ACTION                                                19

 16   PRAYER FOR RELIEF                                                     22

 17   DEMAND FOR JURY TRIAL                                                 26

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                               CLASS ACTION COMPLAINT
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   1             Plaintiff Juana Elisa Carrillo Geiz ("Plaintiff"), based upon facts that either have

  2       evidentiary support or are likely to have evidentiary support after a reasonable opportunity for

  3      further investigation and discovery, alleges as follows:

  4                           INTRODUCTION & PRELIMINARY STATEMENT

  5              1.     Plaintiff brings this action against Defendants Argus Contracting LP, Irex

  6       Corporation, and Does 1 through 10 (collectively referred to as "Defendants") for California

  7      Labor Code violations and unfair business practices stemming from Defendants' failure to pay

  8       minimum wages, failure to pay overtime wages, failure to provide meal periods, failure to

  9       authorize and permit rest periods, failure to maintain accurate records of hours worked and meal

 10       periods, failure to timely pay all wages to terminated employees, failure to indemnify necessary

 11       business expenses, and failure to furnish accurate wage statements.

 12              2.     Plaintiff brings the First through Eighth Causes of Action individually and as a

 13      class action on behalf of himself and certain current and former employees of Defendants

 14      (hereinafter collectively referred to as the "Class" or "Class Members" and defined more fully

 1 5-r   below). The Class consists of Plaintiff and all other persons who have been employed by any

 16      Defendants in California as an hourly-paid, non-exempt employeeduring the statute of limitations

 17      period applicable to the claims pleaded here.

 18              3.     Defendants own/owned and operate/operated an industry, business, and

 19      establishment within the State of California, including Los Angeles County. As such, and based

 20      upon all the facts and circumstances incident to Defendants' business in California, Defendants

 21      are subject to the California Labor Code, Wage Orders issued by the Industrial Welfare

 22      Commission ("IWC"), and the California Business & Professions Code.

 23              4.     Despite these requirements, throughout the statutory period Defendants

 24      maintained a systematic, company-wide policy and practice of:

 25                    (a)      Failing to pay employees for all hours worked, including all minimum

 26                             wages, and overtime wages in compliance with the California Labor Code

 27                             and 1WC Wage Orders;

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                                            CLASS ACTION COMPLAINT
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                     (b)        Failing to provide employees with timely and duty-free meal periods in

  2                             compliance with the California Labor Code and IWC Wage Orders, failing

  3                             to maintain accurate records of all meal periods taken or missed, and

  4                             failing to pay an additional hour's pay for each workday a meal period

  5                             violation occurred;

  6                 (c)         Failing to authorize and permit employees to take timely and duty-free rest

  7                             periods in compliance with the California Labor Code and IWC Wage

  8                             Orders, and failing to pay an additional hour's pay for each workday a rest

  9                             period violation occurred;

 10                 (d)         Failing to indemnify employees for necessary business expenses incurred;

 11                 (e)         Willfully failing to pay employees all minimum wages, overtime wages,

 12                             meal period premium wages, and rest period premium wages due within

 13                         the time period specified by California law when employment terminates;

 14                         and

 15                 (1)     Failing to maintain accurate records'of the hours that employees worked. -

 16                 (g)     Failing to provide employees with accurate, itemized wage statements

 17                         containing all the information required by the California Labor Code and

 18                         IWC Wage Orders.

 19          5.      On information and belief, Defendants, and each of them were on actual and

 20   constructive notice of the improprieties alleged herein and intentionally refused to rectify their

 21   unlawful policies. Defendants' violations, as alleged above, during all relevant times herein were

 22   willful and deliberate.

 23          6.      At all relevant times, Defendants were and are legally responsible for all of the

 24   unlawful conduct, policies, practices, acts and omissions as described in each and all of the

 25   foregoing paragraphs as the employer of Plaintiff and the Class. Further, Defendants are -

 26   responsible for each of the unlawful acts or omissions complained of herein under the doctrine of

 27   "respondeat superior".

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                                                      2
                                           CLASS ACTION COMPLAINT
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  1                                             THE PARTIES

  2          A.      Plaintiff

  3          7.      Plaintiff is a California resident that worked for Defendants in the State of

  4   California, as a'tube maintenance worker from approximately November 2019 to July 2021.

  5          8.      Plaintiff reserves the right to seek leave to amend this complaint to add new

  6   plaintiffs, if necessary, in order to establish suitable representative(s) pursuant to La Sala v.

  7   A merican Savings and Loan Association (1971)5 Ca1.3d 864, 872, and other applicable law.

  8          B.      Defendants

  9          9.      Plaintiff is informed and believes, and based upon that information and belief

 10   alleges, that Defendant Argus Contracting LP is:

 11                 (a)      A California limited partnership with its principal place of business in Los

 12                          Angeles, California.

 13                 (b)      A business entity conducting business in numerous counties throughout the

 14                          State of California, including in Los Angeles County; and

 15                 (e)     -The former employer of Plaintiff, and the current and/or former employer

 16                          of the putative Class. Argus Contracting LP suffered and permitted

 17                         Plaintiff and the Class to work, and/or controlled their wages, hours, or

 18                          working conditions.

 19          1 0.    Plaintiff is informed and believes, and based upon that information and belief

 20   alleges, that Defendant Irex Corporation is:

 21                 (a)      A Pennsylvania corporation with its principal place of business in Los

 22                          Angeles, California.

 23                 (b)     A business entity conducting business in numerous counties throughout the

 24                         State of California, including in Los Angeles County;

 25                 (c)     The former employer of Plaintiff,-.and the current and/or former employer

 26                         of the putative Class. Irex Corporation suffered and permitted Plaintiff and

 27                         the Class to work, and/or controlled their wages, hours, or working

 28                         conditions; and

                                                    3
                                         CLASS ACTION COMPLAINT
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   1                  (d)     At all times herein mentioned, Defendants, and each of them, were joint

  2                           employers of Plaintiff and the Class.

   3           1 1.   Plaintiff does not currently know the true names or capacities of the persons or

  .4   entities sued herein as Does 1-10, inclusive, and therefore sues said Defendants by such fictitious

  5    names. Each of the Doe Defendants was in some manner legally responsible for the damages

  6    suffered by Plaintiff and the Class as alleged herein. Plaintiff will amend this complaint to set

  7    forth the true names and capacities of these Defendants when they have been ascertained,

  8    together with appropriate charging allegations, as may be necessary.

  9            12.    At all times mentioned herein, the Defendants named as Does 1-10, inclusive, and

  10   each of them, were residents of, doing business in, availed themselves of the jurisdiction of,

  11   and/or injured a significant number of the Plaintiff and the Class in the State of California.

  12           1 3.   Plaintiff is informed and believes and thereon alleges that at all relevant times

  13   each Defendant, directly or indirectly, or through agents or other persons, employed Plaintiff and

  14   the other employees described in the class definitions below, and exercised control over their

  15   wages, hours, and working conditions. Plaintiff-is informed and-believes and thereon alleges

  16   that, at all relevant times, each Defendant was the principal, agent, partner,joint venturer, officer,

  17   director, controlling shareholder, subsidiary, affiliate, parent corporation, successor in interest

  18   and/or predecessor in interest of some or all of the other Defendants, and was engaged with some

  19   or all of the other Defendants in a joint enterprise for profit, and bore such other relationships to

 20    some or all of the other Defendants so as to be liable for their conduct with respect to the matters

 21    alleged below. Plaintiff is informed and believes and thereon alleges that each Defendant acted

 22    pursuant to and within the scope of the relationships alleged above, that each Defendant knew or

 23    should have known about, and authorized, ratified, adopted, approved, controlled, aided and

 24    abetted the conduct of all other Defendants.

 25                    ALLEGATIONS COMMON TO ALL CAUSES OF ACTION -

 26           1 4.    Plaintiff is a California resident who worked for Defendants in the State of

 27    California, as a tube maintenance worker from approximately November 2019 to July 2021.

 28

                                                     4
                                          CLASS ACTION COMPLAINT
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   1    During the statutory time period, Plaintiff-was typically scheduled to work 5 days in a workweek,

  2     and typically in excess of 8 hours in a single workday.

  3             1 5.   Throughout the statutory period, Defendants failed to pay Plaintiff for all hours

  4     worked (including minimum wages and overtime wages), failed to provide Plaintiff with

  5     uninterrupted meal periods, failed to authorize and permit Plaintiff to take uninterrupted rest

  6     periods, failed to indemnify Plaintiff for necessary business expenses, failed to timely pay all

  7     final wages to Plaintiff when Defendants terminated Plaintiff's employment, and failed to furnish

  8     accurate wage statements to Plaintiff. As discussed below, Plaintiff's experience working for

  9     Defendants was typical and illustrative.

 10             1 6.   Throughout the statutory period, Defendants maintained a policy and practice of

 11     not paying Plaintiff and the Class for all hours worked, including all overtime wages. Throughout

 12     the statutory period, Plaintiff and the Class were required to work "off the clock",

 13     uncompensated. For example, Plaintiff and the Class were required to wait in line in order to sign

 14     into work (signing a piece of paper with a name), uncompensated. Plaintiff and the Class were

 15     also occasionally required to pick -u paint and other materials prior to clocking into work, without

 16     compensation. Also, Plaintiff and the Class were regularly required to arrive at work

  17    approximately 45 minutes prior to the shift beginning, where the supervisors indicated that it is

 18     better to arrive 1 hour early than 1 hour late. In the event Plaintiff and the Class arrived later

 19     than 45 minutes early, a verbal warning would be given, with the threat of sending the employee

 20     home without pay. In maintaining a practice of not paying all wages owed, Defendants failed to

 21     m aintain accurate records of the hours Plaintiff and the Class worked.

 22            1 7.    Throughout the statutory period, Defendants have wrongfully failed to provide

 23     Plaintiff and the Class with legally compliant meal periods. Defendants sometimes, but not

 24     always, required Plaintiff arid the Class to work in excess of five consecutive hours a day without

 25 -   providing 30-minute, continuous and uninterrupted, duty-free meal period for every five hour.s of

 26     work, or without compensating Plaintiff and the Class for meal periods that were not provided by

 27     the end of the fifth hour of work or tenth hour of work. Defendants also did not adequately

 28     inform Plaintiff and the Class of their right to take a meal period by the end of the fifth hour of

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   1   work, or, for shifts greater than 10 hours, by the end of the tenth hour of work. Further, Plaintiff

   2   and the Class were required to take a combined meal and rest period of 1 hour. Defendants failed

   3   to accurately record the meal period, and they were automatically deducted. Accordingly,

  4    Defendants' policy and practice was to not provide meal periods to Plaintiff and the Class in

   5   compliance with California law.

  6           1 8.    Throughout the statutory period, Defendants have wrongfully failed to authorize

   7   and permit Plaintiff and the Class to take timely and duty-free rest periods. Defendants

   8   sometimes, but not always, required Plaintiff and the Class to work in excess of four consecutive

  9    hours a day without Defendants authorizing and permitting them to take a 10-minute, continuous

  10   and uninterrupted, rest period for every four hours of work (or major fraction of four hours), or

  11   without compensating Plaintiff and the Class for rest periods that were not authorized or

  12   permitted. Defendants also did not adequately inform Plaintiff and the Class of their right to take

  13   a rest period. Moreover, Defendants did not have adequate policies or practices permitting or

  14   authorizing rest periods for Plaintiff and the Class, nor did Defendants have adequate policies or

  15   practices regarding the timing of rest periods. Defendants,also did not have adequate policies or

  16   practices to verify whether Plaintiff and the Class were taking their required rest periods.

  17   Further, Defendants did not maintain accurate records of employee work periods, and therefore

  18   Defendants cannot demonstrate that Plaintiff and the Class took rest periods during the middle of

 19    each work period. Further, Plaintiff and the Class were required to take a combined meal and

 20    rest period of 1 hour. Accordingly, Defendants' policy and practice was to not authorize and

 21    permit Plaintiff and the Class to take rest periods in compliance with California law.

 22           1 9.   Throughout the statutory period, Defendants wrongfully required Plaintiff and the

 23    Class to pay expenses that they incurred in direct discharge of their duties for Defendants without

 24    reimbursement, such as the purchase of pants, boots, work shirts, and tools (such as scissors,

 25    screwdrivers, hammers, batteries, and wire cutters), without-reimbursement.

 26           20.    Throughout the statutory period, Defendants willfully failed and refused to timely

 27    pay Plaintiff and the Class at the conclusion of their employment all wages for all minimum

 28    wages, overtime wages, meal period premium wages, and rest period premium wages. Further,

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  1   Defendants did not pay Plaintiff and the Class their-final paychecks immediately upon

  2   termination.

 -3          21.     Throughout the statutory period, Defendants failed to furnish Plaintiff and the

  4   Class with accurate, itemized wage statements showing all applicable hourly rates, and all gross

  5   and net wages earned (including correct. hours worked, correct wages earned for:hours worked,

  6   correct overtime hours worked, correct wages for meal periods that were not provided in

  7   accordance with California law, correct wages for rest periods that were not authorized and

  8   permitted to take in accordance with California law, and Defendant's address). Further, the wage

  9   statements do not show Defendant's address as required by California law. As a result of these

 10   violations of California Labor Code § 226(a), the Plaintiff and the Class suffered injury because,

 11   among other things:

 12                  (a)    the violations led them to believe that they were not entitled to be paid

 13                         minimum wages, overtime wages, meal period premium wages, and rest

 14                         period premium wages to which they were entitled, even though they were

 15                         entitled;

 16                  (b)    the violations led them to believe that they had been paid the minimum,

 17                         overtime, meal period premium, and rest period premium wages, even

 18                         though they had not been;

 19                  (c)    the violations led them to believe they were not entitled to be paid

 20                         minimum, overtime, meal period premium, and rest period premium wages

 21                         at the correct California rate even though they were;

 22                  (d)    the violations led them to believe they had been paid minimum, overtime,

 23                         meal period premium, and rest period premium wages at the correct

 24                         California rate even though they had not been;

 25                  (e)    the-violations hindered them from determining the amounts of minimum,

 26                         overtime, meal period premium, and rest period premium owed to them;

 27                  (0     in connection with their employment before and during this action, and in

 28                         connection with prosecuting this action, the violations caused them to have

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      1                            to perform mathematical computations to determine the amounts of wages

     2                             owed to them, computations they would not have to make if the wage

     3                             statements contained the required accurate information;

     4                  --(g)   • by understating the wages truly due them, the violations caused them to

     5                             lose entitlement and/or accrual of the full amount of Social Security,

     6                             disability, unemployment, and other governmental benefits;

     7                  (h)        the wage statements inaccurately understated the wages, hours, and wages

     8                             rates to which Plaintiff and the Class were entitled, and Plaintiff and the

     9                             Class were paid less than the wages and wage rates to which they were

    10                             entitled.

    11    Thus, Plaintiff and the Class are owed the amounts provided for in California Labor Code §

    12    226(e), including actual damages.

    13                                     CLASS ACTION ALLEGATIONS

    14           22.     Plaintiff brings certain claims individually, as well as on behalf of each and all

-,-- 15   other persons similarly situated, and thus, seek class certification under California Code of Civil

    16    Procedure § 382.

    17           23.     All claims alleged herein arise under California law for which Plaintiff seeks relief

    18    authorized by California law.

    19           24.     The proposed Class consists of and is defined as:

   20            All persons who worked for any Defendant in California as an hourly, non- -
                 exempt employee at any time during the period beginning four years before the
   21
                 filing of the initial complaint in this action and ending when notice to the Class
   22            is sent.

   23
                 25.     At all material times, Plaintiff was a member of the Class.
   24
                 26.     Plaintiff undertakes this concerted activity to improve the wages and working
   25
          conditions of all Class Members.
   26
                 27.     There is a well-defined community of interest in the litigation and the Class is
   27
          readily ascertainable:
   28

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   1             (a)   Numerosity: The members of the Class (and each subclass, if any) are so

   2                   numerous that joinder of all members would be unfeasible and impractical.

   3                   The membership of the entire Class is unknown to Plaintiff at this time,

   4                   however, the Class is estimated-to be greater than 100 individuals and the

   5                   identity of such membership is readily ascertainable by inspection of

  6                    Defendants' records.

   7             (b)   Typicality: Plaintiff is qualified to, and will, fairly and adequately protect

   8                   the interests of each Class Member with whom there is a shared, well-

  9                    defined community of interest, and Plaintiff's claims (or defenses, if any)

  10                   are typical of all Class Members' claims as demonstrated herein.

  11             (c)   Adequacy: Plaintiff is qualified to, and will, fairly and adequately protect

  12                   the interests of each Class Member with whom there is a shared, well-

  13                   defined community of interest and typicality of claims, as demonstrated

  14                   herein. Plaintiff has no conflicts with or interests antagonistic to any Class

 15                    Member. Plaintiff's attorneys,-the proposed class counsel, are versed in

 16                    the rules governing class action discovery, certification, and settlement.

 17                    Plaintiff has incurred, and throughout the duration of this action, will

 18                    continue to incur costs and attorneys' fees that have been, are, and will be

 19                    necessarily expended for the prosecution of this action for the substantial

 20                    benefit of each class member. .

 21             (d)    Superiority: A Class Action is superior to other available methods for the

 22                    fair and efficient adjudication of the controversy, including consideration

 23                    of:

 24                    1)     The interests of the members of the Class in individually

 25                           controlling the prosecution or defense of separate actions;

 26                    2)     The extent and nature of any litigation concerning the controversy

 27                           already commenced by or against members of the Class;

 28                    3)     The desirability or undesirability of concentrating the litigation of

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                                  - the claims in the particular forum; and

   2                         4)     The difficulties likely to be encountered in the management of a

   3                                class action.

   4                (e)      Public Policy Considerations: The public policy of the State of California

   5                         is to resolve the California Labor Code claims of many employees through

  6                          a class action. Indeed, current employees are often afraid to assert their

   7                         rights out of fear of direct or indirect retaliation. Former employees are

   8                         also fearful of bringing actions because they believe their former

  9                          employers might damage their future endeavors through negative

  10                         references and/or other means. Class actions provide the class members

  11                         who are not named in the complaint with a type of anonymity that allows

  12                        for the vindication of their rights at the same time as their privacy is

 13                          protected.

  14          28.    There are common questions of law and fact as to the Class (and each subclass, if

 -15   any)that pr•edominate over questions affecting only individual members, including withdut

 16    limitation, whether, as alleged herein, Defendants have:

 17                 (a)      Failed to pay Class Members for all hours worked, including minimum

 18                          wages, and overtime wages;

 19                 (b)      Failed to provide meal periods and pay meal period premium wages to

 20                         Class Members;

 21                 (c)     Failed to authorize and permit rest periods and pay rest period premium

 22                          wages to Class Members;

 23                 (d)     Failed to promptly pay all wages due to Class Members upon their

 24                         discharge or resignation;

 25                 (e)     Failed to maintain accurate records ofall hours Class Members worked,

 26                         and all meal periods Class Members took or missed;

 27                 (f)     Failed to reimburse Class Members for all necessary business expenses;

 28                       - and

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  -1                (g)     Violated California Business & Professions Code §§ 17200 et. seq. as a

   2                        result of their illegal conduct as described above.

   3          29.    This Court should permit this action to be maintained as a class action pursuant to

   4   California Code of Civil Procedure § 382 because:

   5                (a)     The questions of law and fact common to the Class predominate over any

  6                         q uestion affecting only indivklual members;

   7                (b)     A class action is superior to any other available method for the fair and

   8                        efficient adjudication of the claims of the members of the Class;

   9                (c)     The members of the Class are so numerous that it is impractical to bring all

  10                        members of the class before the Court;

  11                (d)     Plaintiff, and the other members of the Class, will not be able to obtain

  12                        effective and economic legal redress unless the action is maintained as a

  13                        class action;

  14                (e)     There is a community of interest in obtaining appropriate legal and

  15                        equitable relief for thestatutory violations; and in obtaining adequate

  16                        compensation for the damages and injuries for which Defendants are

  17                        responsible in an amount sufficient to adequately compensate the members

  18                        of the Class for the injuries sustained;

  19                (f)     Without class certification, the prosecution of separate actions by

 20                         individual members ofthe class would create a risk of:

 21                         1)     Inconsistent or varying adjudications with respect to individual

 22                                members of the Class which would establish incompatible standards

 23                                of conduct for Defendants; and/or

 24                        2)      Adjudications with respect to the individual members which would,

 25-                               as a practical matter, be dispositive of the interests of other

 26                                members not parties to the adjudications, or would substantially

 27                                i mpair or impede their ability to protect their interests, including but

 28                                not limited to the potential for exhausting the funds available from

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   1                                    those parties who are, or may be, responsible Defendants; and,

   2                  (g)        Defendants have acted or refused to act on grounds generally applicable to

   3                             the Class, thereby making final injunctive relief appropriate with respect to

   4-                            the class as a whole.

   5           30.     Plaintiff contemplates the eventual issuance of notice to the proposed members of

   6    the Class that would set forth the subject and nature of the instant action. The Defendants' own

   7    business records may be utilized for assistance in the preparation and issuance of the

   8    contemplated notices. To the extent that any further notices may be required, Plaintiff would

   9    contemplate the use of additional techniques and forms commonly used in class actions, such as

  10    published notice, e-mail notice, website notice, first-class mail, or combinations thereof, or by

  11    other methods suitable to the Class and deemed necessary and/or appropriate by the Court.

  12                                        FIRST CAUSE OF ACTION

  13       (Against all Defendants for Failure to Pay Minimum Wages for All Hours Worked)

  14           31.    Plaintiff incorporates by reference and re-alleges as if fully stated herein

  15    paragraphs-1 through 21 in this Complaint.

  16           32.    "Hours worked" is the time during which an employee is subject to the control of

  17    an employer, and includes all the time the employee is suffered or permitted to work, whether or

  18    not required to do so.

 19            33.    At all relevant times herein mentioned, Defendants knowingly failed to pay to

 20     Plaintiff and the Class compensation for all hours they worked. By their failure to pay

 21     compensation for each hour worked as alleged above, Defendants willfully violated the

 22     provisions of Section 1194 of the California Labor Code, and any additional applicable Wage

 23     Orders, which require such compensation to non-exempt employees.

 24            34.    Accordingly, Plaintiff and the Class are entitled to recover minimum wages for all

- 25    non-overtime hours worked for Defendants.

 26            35.    By and through the conduct described above, Plaintiff and the Class have been

 27     deprived of their rights to be paid wages earned by virtue of their employment with Defendants.

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   1        -    36.      By virtue of the Defendants' unlawful failure to pay additional compensation to

  2     Plaintiff and the Class for their non-overtime hours worked without pay, Plaintiff and the Class

  3     suffered, and will continue to suffer, damages in amounts which are presently-unknown to

  4     Plaintiff and the Class, but which exceed the jurisdictional minimum of this Court, arid which

  5     will be ascertained according to proof at trial.

  6              37.      By failing to keep adequate time records required by California Labor Code §

  7     1 174(d), Defendants have made it difficult to calculate the full extent of minimum wage

  8     compensation due Plaintiff and the Class.

  9              38.      Pursuant to California Labor Code section 1194.2, Plaintiff and the Class are

 10     entitled to recover liquidated damages (double damages) for Defendants' failure to pay minimum

 11     wages.

 12              39.      California Labor Code section 204 requires employers to provide employees with

 13     all wages due and payable twice a month. Throughout the statute of limitations period applicable

 14     to this cause of action, Plaintiff and the Class were entitled to be paid twice a month at rates

 -15-   required by law, including minimum wages. However;-during all such times, Defendants

 16     systematically failed and refused to pay Plaintiff and the Class all such wages due, and failed to

 17     pay those wages twice a month.

 18              40.      Plaintiff and the Class are also entitled to seek recovery of all unpaid minimum

 19     wages, interest, and reasonable attorneys' fees and costs pursuant to California Labor Code §§

 20     218.5, 218.6, and 1194(a).

 21                                         SECOND CAUSE OF ACTION

 22                        (Against all Defendants for Failure to Pay Overtime Wages)

 23              41.      Plaintiff incorporates by reference and re-alleges as if fully stated herein

 24     paragraphs 1 through 21 in this Complaint.

 25             - 42. -   California Labor Code § 510 provides that employees in California shall not be

 26     employed more than eight(8) hours in any workday or forty (40) hours in a workweek unless

 27     they receive additional compensation beyond their regular wages in amounts specified by law.

 28-             43.      California Labor Code §§ 1194 and 1198 provide that employees in California

                                                         13
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  1   shall not be employed more than eight hours in any workday unless they receive additional

  2   compensation beyond their regular wages in amounts specified by law. Additionally, California.

  3   Labor Code § 1198-states that the employment of an employee for longer hours than those fixed-_

  4   by the Industrial Welfare Commission is unlawful:

  5          44.     At all times relevant hereto, Plaintiff and the Class have worked more than eight

  6   hours in a workday, as employees of Defendants.

  7          45.     At all times relevant hereto, Defendants failed to pay Plaintiff and the Class

  8   overtime compensation for the hours they have worked in excess of the maximum hours

  9   permissible by law as required by California Labor Code § 510 and 1198. Plaintiff and the Class

 10   are regularly required to work overtime hours.

 11          46.     By virtue of Defendants' unlawful failure to pay additional premium rate

 12   compensation to the Plaintiff and the Class for their overtime hours worked, Plaintiff and the

 13   Class have suffered, and will continue to suffer, damages in amounts which are presently

 14   unknown to them but which exceed the jurisdictional minimum of this Court and which will be

 15   ascertained according to proof at trial.

 16          47.     By failing to keep adequate time records required by Labor Code § 1 174(d),

 17   Defendants have made it difficult to calculate the full extent of overtime compensation due to

 18   Plaintiff and the Class.

 19          48.     Plaintiff and the Class also request recovery of overtime compensation according

 20   to proof, interest, attorneys' fees and costs pursuant to California Labor Code § 1 194(a), as well

 21   as the assessment of any statutory penalties against Defendants, in a sum as provided by the

 22   California Labor Code and/or other statutes.

 23          49.     California Labor Code § 204 requires employers to provide employees with all

 24   wages due and payable twice a month. The Wage Orders also provide that every employer shall

-25   pay to each employee, on the established payday-for the period involved, overtime wages for

 26   overtime hours worked in the payroll period. Defendants failed to provide Plaintiff and the Class

 27   with all compensation due, in violation of California Labor Code § 204.

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   1                                      THIRD CAUSE OF ACTION

  2                    (Against All Defendants for Failure to Provide Meal Periods)

  3           50.     Plaintiff incorporates by reference and re-alleges as if fully stated herein

  4    paragraphs 1 through 21 in this Complaint.

  5           51.     Under California law, Defendants have an affirmative obligation to relieve the

  6    Plaintiff and the Class of all duty in order to take their first daily meal periods no later than the

  7    start of Plaintiff and the Class' sixth hour of work in a workday, and to take their second meal

  8    periods no later than the start of the eleventh hour of work in the workday. Section 512 of the

  9    California Labor Code, and Section 11 of the applicable Wage Orders require that an employer

  10   provide unpaid meal periods of at least 30 minutes for each five-hour period worked. It is a

 11    violation of Section 226.7 of the California Labor Code for an employer to require any employee

 12    to work during any meal period mandated under any Wage Order.

 13           52.     Despite these legal requirements, Defendants regularly failed to provide Plaintiff

 14    and the Class with both meal periods as required by California law. By their failure to permit

 15    and authorize Plaintiff and the Class to take all meal periods as alleged above (or due to the fact

 16    that Defendants made it impossible or impracticable to take these uninterrupted meal periods),

 17    Defendants willfully violated the provisions of Section 226.7 of the California Labor Code and

 18    the applicable Wage Orders.

 19           53.     Under California law, Plaintiff and the Class are entitled to be paid one hour of

 20    additional wages for each workday he or she was not provided with all required meal period(s),

 21    plus interest thereon.

 22                                     FOURTH CAUSE OF ACTION

 23            (Against All Defendants for Failure to Authorize and Permit Rest Periods)

 24           54.     Plaintiff incorporates by reference and re-alleges as if fully stated herein

 25    paragraphs 1 through-21 in this Complaint.      -

 26           55.     Defendants are required by California law to authorize and permit breaks of 10

 27    uninterrupted minutes for each four hours of work or major fraction of four hours (i.e. more than

 28    two hours). Section 512 of the California Labor Code, the applicable Wage Orders require that

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   1   the employer permit and authorize all employees to take-paid rest periods of 10 minutes each for

   2   each 4-hour period worked. Thus, for example, if an employee's work time is 6 hours and ten

   3   minutes, the employee is entitled to two rest breaks. Each failure to authorize rest breaks as so

   4   required is itself a violation of California's rest break laws. It is a violation of Section 226.7 of

   5   the California Labor Code for an employer to require any employee to work during any rest

  6    period mandated under any Wage Order.

   7          56.     Despite these legal requirements, Defendants failed to authorize Plaintiff and the

   8   Class to take rest breaks, regardless of whether employees worked more than 4 hours in a

  9    workday. By their failure to permit and authorize Plaintiff and the Class to take rest periods as

  10   alleged above (or due to the fact that Defendants made it impossible or impracticable to take

  11   these uninterrupted rest periods), Defendants willfully violated the provisions of Section 226.7 of

  12   the California Labor Code and the applicable Wage Orders.

  13          57.     Under California law, Plaintiff and the Class are entitled to be paid one hour of

  14   premium wages rate for each workday he or she was not provided with all required rest break(s),

  15   plus interest thereon.

  16                                     FIFTH CAUSE OF ACTION

  17        (Against All Defendants for Failure to Indemnify Necessary Business Expenses)

  18          58.     Plaintiff incorporates by reference and re-alleges as if fully stated herein

 19    paragraphs 1 through 21 in this Complaint.

 20           59.     Defendants violated Labor Code section 2802 and the IWC Wage Orders, by

 21    failing to pay and indemnify the Plaintiff and the Class for their necessary expenditures and

 22    losses incurred in direct consequence of the discharge of their duties or of their obedience to

 23    directions of Defendants.

 24           60.     As a result, Plaintiff and the Class were damaged at least in the amounts of the

 -25   expenses they paid, or which-were deducted by Defendants from their wages.         -

 26           61.     Plaintiff and the class they represent are entitled to attorney's fees, expenses, and

 27    costs of suit pursuant to Labor Code section 2802(c) and interest pursuant to Labor Code section

 28    2802(b).

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                                          SIXTH CAUSE OF ACTION

  2     (Against all Defendants for Failure to Pay Wages of Discharged Employees — Waiting Time

  3                                                  Penalties)

  4            62.     Plaintiff incorporates by reference and re-alleges as if fully stated herein

  5     paragraphs 1 through 21 in this Complaint.

  6            63.     At all times herein set forth, California Labor Code §§ 201 and 202 provide that if

  7     an employer discharges an employee, the wages earned and unpaid at the time of discharge are

  8     due and payable immediately, and that if an employee voluntarily leaves his or her employment,

  9     h is or her wages shall become due and payable not later than seventy-two (72) hours thereafter,

 10     unless the employee has given seventy-two (72) hours previous notice of his or her intention to

 11     q uit, in which case the employee is entitled to his or her wages at the time of quitting.

 12            64.     Within the applicable statute of limitations, the employment of Plaintiff and many

 13     other members of the Class ended, i.e. was terminated by quitting or discharge, and the

 14     employment of others will be. However, during the relevant time period, Defendants failed, and

 1 5-   continue to-fail to pay terminated Class Members, without abatement, aft,wages required to be

 16     paid by California Labor Code sections 201 and 202 either at the time of discharge, or within

  17    seventy-two (72) hours of their leaving Defendants' employ.

 18            65.     Defendants' failure to pay Plaintiff and those Class members who are no longer

 19     employed by Defendants their wages earned and unpaid at the time of discharge, or within

 20     seventy-two (72) hours of their leaving Defendants' employ, is in violation of California Labor

 21     Code §§ 201 and 202.

 22            66.     California Labor Code § 203 provides that if an employer willfully fails to pay

 23     wages owed, in accordance with sections 201 and 202, then the wages of the employee shall

 24     continue as a penalty wage from the due date, and at the same rate until paid or until an action is

 25-    commenced; but the wages shall not continue for more-than thirty (30) days.

 26            67.     Plaintiff and the Class are entitled to recover from Defendants their additionally

 27     accruing wages for each day they were not paid, at their regular hourly rate of pay, up to 30 days

 28     maximum pursuant to California Labor Code § 203.

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    1            68.    Pursuant to California Labor Code §§ 218.5, 218.6 and 1194, Plaintiff and the

   2     Class are also entitled to an award of reasonable attorneys' fees, interest, expenses, and costs

   3     incurred in this action.

   4                                      SEVENTH CAUSE OF ACTION

   5              (Against all Defendants for Failure to Provide and Maintain Accurate and

   6                                         Compliant Wage Records)

   7            69.     Plaintiff incorporates by reference and re-alleges as if fully stated herein

   8     paragraphs 1 through 21 in this Complaint.

   9             70.    At all material times set forth herein, California Labor Code § 226(a) provides that

  10     every employer shall furnish each of his or her employees an accurate itemized wage statement

  11     in writing showing nine pieces of information, including:(1) gross wages earned,(2) total hours

  12     worked by the employee,(3) the number of piece-rate units earned and any applicable piece rate

  13     if the employee is paid on a piece-rate basis,(4) all deductions, provided that all deductions made

  14     on written orders of the employee may be aggregated and shown as one item,(5) net wages

  15     earned,(6) the inclusive dates of the period for which the employee is paid,(7)the name of the

  16     employee and the last four digits of his or her social security number or an employee

  17     identification number other than a social security number,(8) the name and address of the legal

  18     entity that is the employer, and (9) all applicable hourly rates in effect during the pay period and

  19     the corresponding number of hours worked at each hourly rate by the employee.

  20            71.     Defendants have intentionally and willfully_failed to provide employees with

  21     complete and accurate wage statements. The deficiencies include, among other things, the

  22     failure to correctly identify the gross wages earned by Plaintiff and the Class, the failure to list

  23     the true "total hours worked by the employee," and the failure to list the true net wages earned.

  24            72.     As a result of Defendants' violation of California Labor Code § 226(a), Plaintiff

- 25 -   and the Class have suffered injury and-damage to their statutorily-protected-rights.

  26            7-3.    Specifically, Plaintiff and the members of the Class have been injured.by

  27     Defendants' intentional violation of California Labor Code § 226(a) because they were denied

  28     both their legal right to receive, and their protected interest in receiving, accurate, itemized wage

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  1   statements under California Labor Code § 226(a).

  2        ... 74.   Calculation of the true wage entitlement for Plaintiff and the Class is difficult and

  3   time consuming. As a result of this unlawful burden, Plaintiff and the Class were also injured as

  4   a result of having to bring this action- to attempt to obtain correct wage information following

  5   Defendants' refusal to comply with many of the mandates of California's Labor Code and related

  6   laws and regulations.

  7          75.     Plaintiff and the Class are entitled to recover from Defendants their actual

  8   damages caused by Defendants' failure to comply with California Labor Code § 226(a).

  9          76.     Plaintiff and the Class are also entitled to injunctive relief, as well as an award of

 10   attorney's fees and costs to ensure compliance with this section, pursuant to California Labor

 11   Code § 226(h).

 12                                    EIGHTH CAUSE OF ACTION

 13   (Against all Defendants for Violation of California Business & Professions Code §§ 17200,

 14                                                  et seq.)

 15                  Plaintiff in-corporates by reference and re-alleges'as if fully stated herein

 16   paragraphs 1 through 21 in this Complaint.

 17          78.     Defendants, and each of them, are "persons" as defined under California Business

 18   & Professions Code § 17201.

 19          79.      Defendants' conduct, as alleged herein, has been, and continues to be, unfair,

 20   unlawful, and harmful to Plaintiff, other Class members, and to the general public. Plaintiff

 21   seeks to enforce important rights affecting the public interest within the meaning of Code of Civil

 22   Procedure § 1021.5.

 23          80.     Defendants' activities, as alleged herein, are violations of California law, and

 24   constitute unlawful business acts and practices in violation of California Business & Professions

 25   Code-§§ 17200, et seq.              ^

 26          81.     A violation of California Business & Professions Code §§ 17200, et seq. may be

 27   predicated on the violation of any state or federal- law. All of the acts described herein as

 28   violations of, among other things, the California Labor Code, are unlawful and in violation of

                                                    19
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   1   - public policy; and in addition are immoral, unethical, oppressive, fraudulent-and unscrupulous,

  2    and thereby constitute unfair, unlawful and/or fraudulent business practices in violation of

  3    California Business &Professions Code §§ 17200, et seq.

  4                          •            Failure to Pay Minimum Wages

  5            82.       Defendants' failure to pay minimum wages, and other benefits in violation of the

  6    California Labor Code constitutes unlawful and/or unfair activity prohibited by California

  7    Business & Professions Code §§ 17200, et seq.

  8                                       Failure to Pay Overtime Wages

  9            83.       Defendants' failure to pay overtime compensation and other benefits in violation

 10    of California Labor Code §§ 510, 1194, and 1198 constitutes unlawful and/or unfair activity

 11    prohibited by California Business & Professions Code §§ 17200, et seq.

 12                        Failure to Maintain Accurate Records of All Hours Worked

 13           84.        Defendants' failure to maintain accurate records of all hours worked in accordance

 14    with California Labor Code § 1174.5 and the IWC Wage Orders constitutes unlawful and/or

 15    unfair activity prohibited by California Business.& Professions Code-§§ 17200, et seq.

 16                                       Failure to Provide Meal Periods

 17           85.        Defendants' failure to provide meal periods in accordance with California Labor

 18    Code §§ 226.7 and 512, and the IWC Wage Orders, as alleged above, constitutes unlawful and/or

 19    unfair activity prohibited by California Business & Professions Code §§ 17200, et seq.

 20                                Failure to Authorize and Permit Rest Periods

 21           86.        Defendants' failure to authorize and permit rest periods in accordance with

 22    California Labor Code § 226.7 and the IWC Wage Orders, as alleged above, constitutes unlawful

 23    and/or unfair activity prohibited by Business and Professions Code §§ 17200, et seq.

 24                              Failure to Indemnify Necessary Business Expenses

 25          -87. _ Defendants' failure to indemnify employees for necessary business expenses in

 26    accordance with California Labor Code § 2802 and the IWC Wage Orders, as alleged above,

 27    constitutes unlawful and/or unfair activity prohibited by Business and Professions Code §§

 28    1 7200, et seq.

                                                     20
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  1                       Failure to Provide Accurate Itemized Wage Statements

  2          88.     Defendants' failure-to provide accurate itemized wage statements in accordance

  3   with California.Labor Code § 226, as alleged above, constitutes unlawful and/or unfair activity

  4   prohibited by California Business & Professions Code §§ 17200, et seq.

  5          89.     By and through their unfair, unlawful and/or fraudulent business practices

  6   described herein, the Defendants, have obtained valuable property, money and services from

  7   Plaintiff, and all persons similarly situated, and have deprived Plaintiff, and all persons similarly

  8   situated, of valuable rights and benefits guaranteed by law, all to their detriment.

  9          90.     Plaintiff and the Class Members suffered monetary injury as a direct result of

 10   Defendants' wrongful conduct.

 11          91.     Plaintiff, individually, and on behalf of members of the putative Class, is entitled

 12   to, and do, seek such relief as may be necessary to disgorge money and/or property which the

 13   Defendants have wrongfully acquired, or of which Plaintiff and the Class have been deprived, by

 14   means of the above-described unfair, unlawful and/or fraudulent business practices. Plaintiff and

 15   the Class are not obligated to establish individual knowledge of the wrongful practices of ---

 16   Defendants in order to recover restitution.

 17          92.     Plaintiff, individually, and on behalf of members of the putative class, are further

 18   entitled to and do seek a declaration that the above described business practices are unfair,

 19   unlawful and/or fraudulent, and injunctive relief restraining the Defendants, and each of them,

 20   from engaging in any of the above-described unfair, unlawful and/or fraudulent business

 21   practices in the future.

 22          93.     Plaintiff, individually, and on behalf of members of the putative class, have no

 23   plain, speedy, and/or adequate remedy at law to redress the injuries which the Class Members

 24   suffered as a consequence of the Defendants' unfair, unlawful and/or fraudulent business

 25   practices. As.a•result of the unfair, unlawful and/or fraudulent business practices described-

 26   above, Plaintiff, individually, and on behalf of members of the putative Class, has suffered and

 27   will continue to suffer irreparable harm unless the Defendants, and each of them, are restrained

 28   from continuing to engage in said unfair, unlawful and/or fraudulent business practices.

                                                   21
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              94.      Plaintiff also alleges that if Defendants are not enjoined from the conduct set forth

  2    herein above, they will continue to avoid paying the appropriate taxes, insurance and other

  3    withholdings.

  4        - 95.       Pursuant to California Business & Professions Code §§ 17200, et seq., Plaintiff

  5    and putative Class Members are entitled to restitution of the wages withheld and retained by

  6    Defendants during a period that commences four years prior to the filing of this complaint; a

  7    permanent injunction requiring Defendants to pay all outstanding wages due to Plaintiff and

  8    Class Members; an award of attorneys' fees pursuant to California Code of Civil Procedure §

  9    1 021.5 and other applicable laws; and an award of costs.

  10                                         PRAYER FOR RELIEF

  11          Plaintiff, individually, and on behalf of all others similarly situated only with respect to

  12   the class claims, prays for relief and judgment against Defendants,jointly and severally, as

  13   follows:

  14                                             Class Certification

 15           1.       That this action be certified as a class action-with respect to the-First, Second,

  16   Third, Fourth, Fifth, Sixth, Seventh, and Eighth Causes of Action;

  17          2.       That Plaintiff be appointed as the representative of the Class; and

  18          3.       That counsel for Plaintiff be appointed as Class Counsel.

  19                                      As to the First Cause of Action

 20           4.       That the Court declare, adjudge and decree that Defendants violated California

 21    Labor Code §§ 204 and 1194 and applicable IWC Wage Orders by willfully failing to pay all

 22    minimum wages due;

 23           5.       For general unpaid wages as may be appropriate;

 24           6.       For pre-judgment interest on any unpaid compensation commencing from the date

 25    such amounts were due;                                       _.

 26           7.       For liquidated damages;

 27           8.       For reasonable attorneys' fees and for costs of suit incurred herein pursuant to

 28    California Labor Code § 1 194(a); and,

                                                    22
                                          CLASS ACTION COMPLAINT
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   1          9.      For such other and further relief as the Court may deem equitable and appropriate.

   2                                    As to the Second Cause of Action

   3           1 0.   That the Court declare, adjudge and decree that Defendants violated California

  4    Labor Code §§ 510 and 1198 and applicableJWC Wage Orders by willfully failing to pay all

   5   overtime wages due;

  6            1 1.   For general unpaid wages at overtime wage rates as may be appropriate;

   7           1 2.   For pre-judgment interest on any unpaid overtime compensation commencing

   8   from the date such amounts were due;

  9            1 3.   For reasonable attorneys' fees and for costs of suit incurred herein pursuant to

  10   California Labor Code § 1194(a); and,

  11           1 4.   For such other and further relief as the Court may deem equitable and appropriate.

  12                                     As to the Third Cause of Action

  13           1 5.   That the Court declare, adjudge and decree that Defendants violated California

  14   Labor Code §§ 226.7 and 512, and the IWC Wage Orders;

  15        - 16.     For unpaid-meal period premium wages as may be appropriate;

  16           1 7.   For pre-judgment interest on any unpaid compensation commencing from the date

  17   such amounts were due;

  18           1 8.   For reasonable attorneys' fees under California Code of Civil Procedure § 1021.5,

  19   and for costs of suit incurred herein; and

 20            1 9.   For such other and further relief as the Court may deem equitable and appropriate.

 21                                     As to the Fourth Cause of Action

 22           20.     That the Court declare, adjudge and decree that Defendants violated California

 23    Labor Code §§ 226.7 and 512, and the IWC Wage Orders;

 24           21.     For unpaid rest period premium wages as may be appropriate;

 25          -22.     For pre-judgment interest on any unpaid compensation commencing from the date

 26    such amounts were due;

 27           23.     For reasonable attorneys' fees under California Code of Civil Procedure § 1021.5,

 28    and for costs of suit incurred herein; and

                                                    23
                                          CLASS ACTION COMPLAINT
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     1            24.    For-such other and further relief as the Court may deem equitable and appropriate.

     2                                      As to the Fifth Cause of Action

     3            25.    That the Court declare, adjudge and decree that Defendants violated Labor Code §

     4    2802 and the I-WC Wage Orders;

     5            26.    For general unpaid wages and reimbursement of business expenses as may be

     6    appropriate;

     7            27.    For pre-judgment interest on any unpaid compensation commencing from the date

     8    such amounts were due;

     9            28.    For reasonable attorneys' fees and for costs of suit incurred herein; and

    10            29.    For such other and further relief as the Court may deem equitable and appropriate.

    11                                      As to the Sixth Cause of Action

   12             30.    That the Court declare, adjudge and decree that Defendants violated California

   13     Labor Code §§ 201, 202, and 203 by willfully failing to pay all compensation owed at the time of

   14     termination of the employment;

---- 15           31:    For statutory wage penalties pursuant tg California Labor Code § 203-for-former

   16     employees who have left Defendants' employ;

    17            32.    For pre-judgment interest on any unpaid wages from the date such amounts were

   18     d ue;

   19             33.    For reasonable attorneys' fees and for costs of suit incurred herein; and

   20             34.    For such other and further relief as the Court may deem equitable and appropriate.

   21                                     As to the Seventh Cause of Action

   22             35.    That the Court declare, adjudge and decree that Defendants violated the record

   23     keeping provisions of California Labor Code § 226(a) and applicable TWC Wage Orders, and

   24     willfully failed to provide accurate itemized wage statements thereto;

   25             36.    For penalties and actual damages pursuant to California Labor Code § 226(e);

   26             37.    For injunctive relief to ensure compliance with this section, pursuant to California

   27     Labor Code § 226(h);

   28             38.    For reasonable attorneys' fees and for costs of suit incurred herein; and

                                                      24
                                            CLASS ACTION COMPLAINT
Case 2:21-cv-09590-MCS-MAA Document 1-1 Filed 12/10/21 Page 34 of 79 Page ID #:49




  1           39.    For such other and further relief as the Court may deem equitable and appropriate.

  2

  3                                    As-to the Eighth Cause of Action

  4           40.    That the Court declare, adjudge and decree that Defendants violated California

  5   Business & Professions Code §§ 17200, et seq. by failing to pay wages for all hours worked

  6   (including minimum and overtime wages), failing to provide meal periods, failing to maintain

  7   accurate records of meal periods, failing to authorize and permit rest periods, and failing to

  8    maintain accurate records of all hours worked and meal periods, failing to furnish accurate wage

  9   statements, and failing to indemnify necessary business expenses;

 10          41.     For restitution of unpaid wages to Plaintiff and all Class Members and

 11    prejudgment interest from the day such amounts were due and payable;

 12          42.     For the appointment of a receiver to receive, manage and distribute any and all

 13   funds disgorged from Defendants and determined to have been wrongfully acquired by

 14   Defendants as a result of violations of California Business & Professions Code §§ 17200 et seq.;

 15          43.     For reasonable attorneys' fees and costs-of suit incurred herein pursuant to

 16   California Code of Civil Procedure § 1021.5;

 17          44.     For injunctive relief to ensure compliance with this section, pursuant to California

 18   Business & Professions Code §§ 17200, et seq.; and,

 19          45.     For such other and further relief as the Court may deem equitable and appropriate.

 20                                       As to all Causes of Action

 21          46.     For any additional relief that the Court deems just and proper.

 22

 23   Dated: October 22, 2021                           Respectfully submitted,

 24                                                     MOON & YANG, APC
-25
                                                  By:
 26                                                     .Zine M
                                                        A llen Feghali
 27                                                     Edwin Kamarzarian
                                                        Attorneys for Plaintiff
 28

                                                  25
                                        CLASS ACTION COMPLAINT
Case 2:21-cv-09590-MCS-MAA Document 1-1 Filed 12/10/21 Page 35 of 79 Page ID #:50




  1
                                      DEMAND FOR JURY TRIAL
  2
            Plaintiff demands a trial by jury as to all causes of action triable by jury.
  3

  4   Dated: October 22, 2021                          -MOON & YANG, APC
  5
                                                 By:
  6                                                      ne Mft6r
                                                       Allen Feghali
  7                                                    Edwin Kamarzarian
                                                       Attorneys for Plaintiff
  8

  9

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                                       CLASS ACTION COMPLAINT
       Case 2:21-cv-09590-MCS-MAA Document 1-1 Filed 12/10/21 Page 36 of 79 Page ID #:51
Electronically FILED by Superior Court of California, County of Los Angeles on 10/4012Mgragnil Sherri R. Carter, Executive Officer/Clerk of Court, by R. Lozano,Deputy Clerk
                                                                                                                                                                                  CM-010
          ATTORNEY OR PARTY VOTHOUT ATTORNEY(Nam             State Bar,
                                                                      t raber, and address):                                                      FOR COURT USEONLY
         — Kane Moon (SBN 249834), Allen eghali(SBN 301.080)
           MOON & YANG APC
           1055 W. 7th Street, Suite 1880
           Los Angeles, CA 90017
                             213-232-3128
                 TELEPHONE NO.:                         FAX NO.: 213,232-3125
                             Plaintiff: Juana Elisa Carrillo Geiz
          ATTORNEY FOR (Name):
         SUPERIOR COURT OF CALIFORNIA, COUNTY OF Los Angeles
             STREET ADDRESS: 111 N. Hill Street
               MAILING ADDRESS
              CITY AND ZIP CODE:     Los Angeles, 90012
                  BRAND-1 NAME:      Stanley Mosk
           CASE NAME:
             Geiz v. Argus Contracting LP, et., al.
                                                                                                  CASE NUMBER:
             CIVIL CASE COVER SHEET                           Complex Case Designation
         El    Unlimited            Limitedn                    Counter        I I Joinder
                                                                                                    21 SmCv39553
              (Amount              (Amount                                                         JUDGE!
               demanded             demanded is          Filed with first appearance by defendant
              exceeds $25,000)      $25,000 or less)         (Cal. Rules of Court, rule 3.402)      DEPT:

                                       Items 1-6 be ow must be completed (see instructions on page 2).
         1. Check one box below for the case type that best describes this case:
              Auto Tort                                                  Contract                                         Provisionally Complex Civil Litigation
                     Auto (22)                                                 Breach of contract/warranty (06)          (Cal. Rules of Court, rules 3.400-3.403)
                     Uninsured motorist(46)                                       Rule 3.740 collections (00)            El Antitrust/Trade regulation (03)
             Other PI/PD/WD (Personal Injury/Property                             Other collections (09)                 El Construction defect(10)
             Damage/Wrongful Death) Tort                                          Insurance coverage (18)                       Mass tort(40)
             =.1 Asbestos (04)                                                 Other contract (37)                       El Securities litigation (28)
             ri  Product liability (24)                                  Real Property                                   El Environmental/Toxic tort(30)
             = Medical malpractice (45)                          I       —I Eminent domain/Inverse
                                                                               condemnation (14)
                                                                                                                                Insurance coverage claims arising from the
             = Other Pl/PDNVD (23)                                                                                              above listed provisionally complex case
             Non-PI/PD/WD (Other) Tort                           ri            Wrongful eviction (33)                           types(41)

                     Business tort/unfair business practice (07) ri               Other real property (26)               Enforcement of Judgment
                     Civil rights (08)                                   U nlawful Detainer                              El Enforcement of judgment(20)
              El Defamation (13)                                        El Commercial(31)                                 Miscellaneous Civil Complaint
             El Fraud (:16)                                             -
                                                                        I 1 Residential(32)                              El RICO (27)
              El Intellectual property (19)                             17 Drugs(38)                                    = Other complaint (not specified above)(42)
             :1 =1 Professional negligence (25)                          J udicial Review                                 Miscellaneous Civil Petition
             El Other non-PI/PDNVO tort(35)                             El       Asset forfeiture (05)
                                                                                                                         = Partnership and corporate governance (21)
             Employment                                                 El        Petition re' arbitration award (11)
                                                                                                                                Other petition (not specified above)(43)
             I    Wrongful termination (36)                             El        Writ of mandate (02)
             -
             1 1  Other employment(15)                                   I     I Other judicial review (39)
        2. This case r I is                    Li
                                          is not complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
           factors requiring exceptional judicial management:
           a. Frl Large number of separately represented parties                                d.
                                                                                Large number of witnesses
           b. I 1 I Extensive motion practice raising difficult or novel e. El Coordination with related actions pending in one or more Courts
                    issues that will be time-consuming to resolve               in other counties, states, or countries, or in a federal court
           c. I= Substantial amount of documentary evidence              f.                       EI
                                                                                Substantial postjudgment judicial supervision

        3.    Remedies sought(check all that apply):               a.E1
                                                               monetary                        b.El nonmonetary: declaratory or injunctive relief                     c.   Elpunitive
        4.    Number of causes of action (specify): 8
        5.    This case M is                   El
                                          is not a class action suit.
        6.    If there are any known related cases, file and serve a notice of related case.(You may use form CM-01,.)
         Date: 10/26/2021
        Kane Moon
                                           (TYPE OR PRINT NAME)                                                         (SIGNATURE OF PARTY OR ATTORNEY FOR PARTY)
                                                                               NOTICE
          • Plaintiff must file this cover-sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
            under the Probate Code, Family Code, or Welfare and Institutions Code).(Cal. Rules of Court, rule 3.220.) Failure to file may result
            in sanctions.
          • File this cover sheet in addition to any cover sheet required by local court rule.
          • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
            other parties to the action or proceeding.
          • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                                                   Page 1012
        Form Adopted for Mandatory Use                                                                                              Cal. Rules of Court. rules 2.30, 3.220, 3.400-3.403, 3.740;
          Judicial Council of California
                                                                         CIVIL CASE COVER SHEET                                             Cal. Standards of Judicial Administration. std. 3:10
          CM-010[Rev.:July 1,20071                                                                                                                                        www.caurlinfo.ca.gov
   Case 2:21-cv-09590-MCS-MAA Document 1-1 Filed 12/10/21 Page 37 of 79 Page ID #:52
                                                                                                                                       CM-010
                                    INSTRUCTIONS ON HOW TO COMPLETE THE COVER-SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
 its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.
                                                           CASE TYPES AND EXAMPLES
Auto Tort                                       Contract                                            Provisionally Complex Civil Litigation (Cal.
     Auto (22)—Personal Injury/Property              Breach of ContractNVarranty (06)               Rules of Court Rules 3.400-3.403)
         Damage/Wrongful Death                            Breach of Rental/Lease                         Antitrust/Trade Regulation (03)
     Uninsured Motorist(46)(if the                             Contract (not unlawful detainer           Construction Defect(10)
         case involves an uninsured                                or wrongful eviction)                 Claims Involving Mass Tort(40)
         motorist claim subject to                        Contract/Warranty Breach—Seller                Securities Litigation (28)
         arbitration, check this item                         Plaintiff (not fraud or negligence)         Environmental/Toxic Tort(30)
         instead of Auto)                                 Negligent Breach of Contract/                   Insurance Coverage Claims
Other Pl/PD/WD (Personal Injury/                               Warranty                                      (arising from provisionally complex
Property Damage/Wrongful Death)                           Other Breach of Contract/Warranty                   case type listed above)(41)
Tort                                                 Collections (e.g., money owed, open              Enforcement of Judgment
     Asbestos (04)                                        book accounts)(09)                             Enforcement of Judgment (20)
         Asbestos Property Damage                         Collection Case—Seller Plaintiff                    Abstract of Judgment(Out of
         Asbestos Personal Injury/                        Other Promissory Note/Collections                        County)
              Wrongful Death                                  Case                                            Confession of Judgment (non-
    Product Liability (not asbestos or               Insurance Coverage (notprovisionally                          domestic relations)
         toxic/environmental)(24)                        complex)(18)                                         Sister State Judgment
     Medical Malpractice (45)                             Auto Subrogation                                    Administrative Agency.Award
         Medical Malpractice--                            Other Coverage                                         (not unpaid taxes)
               Physicians & Surgeons                 Other Contract (37)                                      Petition/Certification of Entry of
         Other Professional Health Care                   Contractual Fraud                                       Judgment on Unpaid Taxes
               Malpractice                                Other Contract Dispute                              Other Enforcement of Judgment
                                                Real Property                                                      Case
    Other PI/PD/WD (23)
         Premises Liability (e.g., slip              Eminent Domain/Inverse                           Miscellaneous Civil Complaint
              and fall)                                  Condemnation (14)                               RICO (27)
         Intentional Bodily lnjury/PDNVD             Wrongful Eviction (33)                              Other Complaint (not specified
                                                                                                              above)(42)
              (e.g., assault, vandalism)             Other Real Property (e.g., quiet title)(26)
         Intentional Infliction of                                                                            Declaratory Relief Only
                                                          Writ of Possession of Real Property                 Injunctive Relief Only (non-
               Emotional Distress                         Mortgage Foreclosure                                     harassment)
         Negligent Infliction of                         Quiet Title
               Emotional Distress                                                                             Mechanics Lien
                                                         Other Real Property (not eminent
         Other Pl/PDNVD                                                                                       Other Commercial Complaint
                                                         domain, landlord/tenant, or
                                                                                                                   Case (non-tort/non-complex)
Non-PI/PD/WD (Other) Tort                                foreclosure)
                                                                                                              Other Civil Complaint
    Business Tort/Unfair Business               U nlawful Detainer
                                                                                                                 (non-tort/non-complex)
        Practice (07)                                Commercial (31)
                                                                                                     Miscellaneous Civil Petition
    Civil Rights (e.g., discrimination,              Residential (32)                                    Partnership and Corporate
        false arrest)(not civil                      Drugs (38) (if the case involves illegal                 Governance (21)
         harassment)(08)                                 drugs, check this item; otherwise,              Other Petition (not specified
    Defamation (e.g., slander, libel)                    report as Commercial or Residential)                 above)(43)
         (13)                                   J udicial Review                                              Civil Harassment
    Fraud (16)                                       Asset Forfeiture (05)                                    Workplace Violence
    Intellectual Property (19)                       Petition Re: Arbitration Award (11)                      Elder/Dependent Adult
    Professional Negligence (25)                     Writ of Mandate (02)                                          Abuse
        Legal Malpractice                                Writ—Administrative Mandamus                         Election Contest
        Other Professional Malpractice                   Writ—Mandamus on Limited Court                       Petition for Name Change
           (not medical or legal)                            Case Matter                                      Petition for Relief From Late
     Other Non-Pl/PD/VVD Tort(35)                        Writ—Other Limited Court Case                             Claim
Employment                                                   Review                                           Other Civil Petition
    Wrongful Termination (36)                        Other Judicial Review (39)
    Other Employment (15)                                Review of Health Officer Order
                                                         Notice of Appeal—Labor
                                                             Commissioner Appeals
CM-010[Rev. July 1,2007]                                                                                                                Page 2 of 2
                                                    CIVIL CASE COVER SHEET
       Case 2:21-cv-09590-MCS-MAA Document 1-1 Filed 12/10/21 Page 38 of 79 Page ID #:53
                                                                               21STCV39553
Electronically FILED by Superior-Court-aCalifornia7Gounty-of-Los.Angeles.on._10/26/2021 05:20 PM Sherri R. Carter, Executive Officer/Clerk of Court, by R. Lozano,Deputy Clerk
  SHORT TITLE: Geiz v. Argus Contracting LP, et., al.                                                          CASE NUMBER
                                                                                                                          2--I ST CV 39553

                               CIVIL CASE COVER SHEET ADDENDUM AND
                                       STATEMENT OF LOCATION
                (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)

                This form is required pursuant to Local Rule 2.3 in all new civil case filings in the Los Angeles Superior Court.




      Step 1: After completing the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact case type in
              Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.

      Step 2: In Column B, check the box for the type of action that best describes the nature of the case.

      Step 3: In Column C, circle the number which explains the reason for the court filing location you have
              chosen.
                                            Applicable Reasons for Choosing Court Filing Location (Column C)

 1. Class actions must be filed in the Stanley Mosk Courthouse, Central District.             7. Location where petitioner resides.
2. Permissive filing in central district.                                                     8. Location wherein defendant/respondent functions wholly.
3. Location where cause of action arose.                                                      9. Location where one or more of the parties reside.
4. Mandatory personal injury filing in North District.                                       10. Location of Labor Commissioner Office.
                                                                                             11. Mandatory filing location (Hub Cases - unlawful detainer, limited
5. Location where performance required or defendant resides.
                                                                                             non-collection, limited collection, or personal injury).
6. Location of property or permanently garaged vehicle.




                                  A                                                                 B                                                              . c
                      Civil Case Cover Sheet                                                Type of Action                                             Applicable Reasons -
                            Category No.                                                   (Check only one)                                             See Step 3‘Above ...

                              Auto (22)               0 A7100 Motor Vehicle - Personal Injury/Property Damage/Wrongful Death                           1, 4, 11

                      Uninsured Motorist(46)          0 A7110 Personal Injury/Property Damage/Wrongful Death - Uninsured Motorist                      1,4, 11


                                                      0 A6070 Asbestos Property Damage                                                                 1, 11
                           Asbestos(04)
                                                      0 A7221 Asbestos - Personal Injury/Wrongful Death                                                1, 11

                       Product Liability (24)         0 A7260 Product Liability (not asbestos or toxic/environmental)                                  1, 4, 11

                                                      0 A7210 Medical Malpractice- Physicians & Surgeons                                               1,4, 11
                     Medical Malpractice(45)
                                                      0 A7240 Other Professional Health Care Malpractice                                               1, 4, 11


                                                      0 A7250 Premises Liability (e.g., slip and fall)
                                                                                                                                                       1, 4, 11
                         Other Personal
                         Injury Property              0 A7230 Intentional Bodily Injury/Property Damage/Wrongful Death (e.g.,
                                                                                                                                                       1, 4, 1 1
                      • Damage Wrongful                       assault, vandalism, etc.)
                           Death (23)                                                                                                                  1, 4, 11
                                                      0 A7270 Intentional Infliction of Emotional Distress
                                                                                                                                                       1, 4, 11
                                                      0 A7220 Other Personal Injury/Property Damage/Wrongful Death




   LASC CIV 109 Rev. 12/18
                                                  'CIVIL CASE COVER SHEET ADDENDUM                                                                 Local Rule 2.3

   For Mandatory Use
                                                      AND STATEMENT OF LOCATION                                                                       Page 1 of 4
   Case 2:21-cv-09590-MCS-MAA Document 1-1 Filed 12/10/21 Page 39 of 79 Page ID #:54

SHORT TITLE:                                                                                             CASE NUMBER
                        Geiz v. Argus Contracting LP, et., al.


                                       .A                                                         .                                            ) ."Aprilgalble:-.
                                                                                                                                                   . ..      .
                            Civil Case                                                •    Type of                                         :Reasons.7.,§01,5,tep 3
                                  Cajedory.,.*:'.                ...-                     (Check only one)                                 '  .' A1.36ve7:7.:

                               Business Tort (07)         0 A6029 Other Commercial/Business Tort (not fraud/breach of contract)              1, 2, 3

                                Civil Rights(08)         0 A6005 Civil Rights/Discrimination                                                 1, 2,3

                                Defamation (13) .         O. A6010 Defamation (slander/libel)                                                1, 2,3

                                   Fraud (16)            0 A6013 Fraud (no contract)                                                         1, 2,3

                                                         0 A6017 Legal Malpractice                                                           1, 2, 3
                         Professional Negligence (25)
                                                         0 A6050 Other Professional Malpractice (not medical or legal)                       1, 2,3

                                   Other (35)            0 A6025 Other Non-Personal Injury/Property Damage tort                              1, 2,3

                           Wrongful Termination (36)     0 A6037 Wrongful Termination                                                        1, 2,3 .

                                                         0 A6024 Other Employment Complaint Case                                             1, 2,3
                            Other Employment(15).
                                                         0 A6109 Labor Commissioner Appeals .                                                10

                                                         0 A6004 Breach of Rental/Lease Contract (not unlawful detaiher or wrongful
                                                                                                                                             2, 5
                                                                 eviction)
                          Breach of Contract/ Warranty                                                                                       2, 5
                                     (06)                0 A6008 Contract/Warranty Breach -Seller Plaintiff(no fraud/negligence)
                               (not insurance)                                                                                               1, 2,5
                                                         0 A6019 Negligent Breach of Contract/Warranty(no fraud)
                                                                                                                                             1, 2, 5
                                                         0 A6028 Other Breach of Contract/Warranty(not fraud or negligence)

                                 ...„.           •       0-A6002 Collections Case-Seller Plaintiff                                        --5, 6, 11
                                Collections (09)
                                                         0 A6012 Other Promissory Note/Collections Case                                      5, 11
                                                         0 A6034 Collections Case-Purchased Debt (Charged Off Consumer Debt                  5, 6, 11
                                                                 Purchased on or after January 1, 2014)

                           Insurance Coverage (18)       0 A6015 Insurance Coverage (not complex)                                            1, 2, 5, 8

                                                         0 A6009 Contractual Fraud                                                           1, 2, 3, 5
                              Other Contract(37)         0 A6031 Tortious Interference                                                       1, 2, 3, 5
                                                         0 A6027 Other Contract Dispute(not breach/insurance/fraud/negligence)               1, 2, 3, 8,9

                           Eminent Domain/Inverse
                                                         0 A7300 Eminent Domain/Condemnation                 Number of parcels               2, 6
                             Condemnation (14)

                            Wrongful Eviction (33)       0 A6023 Wrongful Eviction Case                                                      2,6

                                                         0 A6018 Mortgage Foreclosure                                                        2,6
                           Other Real Property(26)       0 A6032 Quiet Title                                                                 2, 6
                                                         0 A6060 Other Real Property (not eminent domain, landlord/tenant, foreclosure)      2, 6

                         Unlawful Detainer-Commercial
                                                         0 A6021 Unlawful DetainefrCommercial(not drugs or wrongful eviction)                6, 11
    Unlawful Detainer




                         Unlawful Detainer-Residential
                                                         0 A6020 Unlawful Detainer-Residential(not drugs or wrongful eviction)              6, 11
                                    (32)
                             Unlawful Detainer-
                                                         0 A6020F Unlawful Detainer-Post-Foreclosure                                         2, 6, 11
                            Post-Foreclosure(34)

                         Unlawful Detainer-Drugs(38)     0 A6022 Unlawful Detainer-Drugs                                                     2, 6, 11



                                                         CIVIL CASE COVER SHEET ADDENDUM                                                  Local Rule 2.3
LASC CIV-109 Rev. 12/1
                                                            AND STATEMENT OF LOCATION                                                        Page 2 of 4
For Mandatory Use
   Case 2:21-cv-09590-MCS-MAA Document 1-1 Filed 12/10/21 Page 40 of 79 Page ID #:55

SHORT TITLE:                 Geiz v. Argus Contracting LP, et., al.                                                 CASE NUMBER



                             r, --            --.                                                                                                    _                            :I
                                                 ,                                                                                              ,.       ,     ..,-: ,Applicablel
                                       Ciyil,C40.gover Sheet                                                    ,
                                                                                                    Type of Action                                            Reasons .„See Step 3.
                                           Category No "'                                          (Check
                                                                                                     _    only one)                                                   Above
                                                                                                                                             ,..,                              „

                                        Asset Forfeiture (05)       0 A6108 Asset Forfeiture Case                                                             2, 3, 6

                                     Petition re Arbitration (11)   0 A6115 Petition to Compel/ConfirmNacate Arbitration                                      2, 5

                                                                    0 A6151 Writ -Administrative Mandamus       _                      ,r.                    2,8
                                        Writ of Mandate (02)        0 A6152 Writ- Mandamus on Limited Court Case Matter                                       2
                                                                    0 A6153 Writ - Other Limited Court Case Review                                            2

                                     Other Judicial Review (39)     0 A6150 Other Writ /Judicial Review                                                       2, 8

                               Antitrust/Trade Regulation (03) 0 A6003 Antitrust/Trade Regulation                                                             1, 2, 8

                                      Construction Defect(10)       0 A6007 Construction Defect                                                               1, 2, 3

                                     Claims Involving Mass Tort
                                                                    0 A6006 Claims Involving Mass Tort                                                        1, 2, 8
                                               (40)

                                      Securities Litigation (28)    0 A6035 Securities Litigation Case •                                                      1,2, 8                -

                                             Toxic Tort
                                                                    0 A6036 Toxic Tort/Environmental                                                          1, 2, 3,8
                                         Environmental(30)

                                     Insurance Coverage Claims
                                                                    0 A6014 Insurance Coverage/Subrogation (complex case only)                                1, 2, 5, 8
                                       from Complex Case (41)

                                                                    0 A6141 Sister State Judgment                                                             2, 5, 11
                                                                    0 A6160 Abstract of Judgment                                                              2,6               .
                                                                                                  .-                       -                                                   •
                                            Enforcement             0 A6107 Confession of Judgment(non-domestic relations)                                   2, 9
                                         .of Judgment(20)           0 A6140 Administrative Agency Award (not unpaid taxes) ,                                  2, 8
                                                                    0 A6114 Petition/Certificate for Entry of Judgment on Unpaid Tax                         2,8
                                                                    0 A6112 Other Enforcement of Judgment Case                                               2, 8, 9

                                          ' RICO (27)               0 A6033 Racketeering (RICO)Case                                                           1, 2, 8
  Civil Complaints
   Miscellaneous




                                                                    0 A6030 Declaratory Relief Only                                                           1, 2, 8

                                         Other Complaints           0 A6040 Injunctive Relief Only (not domestic/harassment)                                 2, 8
                                     (Not Specified Above)(42)      0 A6011 Other Commercial Complaint Case (non-tort/non-complex)                            1, 2, 8
                                                                    0 A6000 Other Civil Complaint(non-tort/non-complex)                                       1, 2, 8

                                      Partnership Corporation
                                                                    0 A6113 Partnership and Corporate Governance Case                                        2,8
                                         Governance (21)

                                                                    0 A6121 Civil Harassment With Damages                                                    2, 3, 9
           Civil Petitions




                                                                    0 A6123 Workplace Harassment With Damages                                                2, 3, 9
                                                                    0 A6124 Elder/Dependent Adult Abuse Case With Damages                                    2, 3, 9
                                        Other Petitions (Not
                                       Specified Above)(43)         0 A6190 Election Contest         --
                                                                                                      -                                                      '2      '
                                                     _                                                     _                                                         _
                                                                    0 A6110 Petition for Change of Name/Change'of Gender                                     2, 7
                                                                    0 A6170 Petition for Relief from Late Claim-Law                                          2, 3, 8'
                                                                    0 A6100 Other Civil Petition                                                             2,9




                                                                    CIVIL CASE COVER SHEET ADDENDUM                                                  - Local Rule 2.3
LASC CIV 109 Rev. 12/18 -
                                                                       AND STATEMENT OF LOCATION                                                             Page 3 of 4
For Mandatory Use
    Case 2:21-cv-09590-MCS-MAA Document 1-1 Filed 12/10/21 Page 41 of 79 Page ID #:56

 SHORT TITLE:   Geiz v. Argus Contracting LP, et., al.                                CASE NUMBER




Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column C for the
            type of action that you have selected. Enter the address which is the basis for the filing location, including.zip code.
            (No address required for class action cases).

                                                                     ADDRESS:
   REASON:

    0 1.     2.2 3.04.05.06.07. 08.0 9.0 10.0.11.



   CITY:                                       STATE:    ZIP CODE:




Step 5: Certification of Assignment: I certify that this case is properly filed in the Central                           District of
            the Superior Court of California, County of Los Angeles [Code Civ. Proc., §392 et seq., and Local Rule 2.3(a)(1)(E)].




  Dated: 10/26/2021
                                                                                  (SIGNATURE OF ATTORNEY/FILING PARTY)




  PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
  COMMENCE YOUR NEW COURT CASE:

       1. Original Complaint or Petition.

       2. If filing a Complaint, a completed Summons form for issuance by the Clerk.
       3. Civil Case Cover Sheet, Judicial Council form CM-010.

       4. Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev.
          02/16).
       5. Payment in full of the filing fee, unless there is court order for waiver, partial or scheduled payments.
       6. A signed order appointing the Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or petitioner is a
          minor under 18 years of age will be required by Court in order to issue a summons.

       7.    Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
             m ust be served along with the summons and complaint, or other initiating pleading in the case.




                                             CIVIL CASE COVER SHEET ADDENDUM                                          Local Rule 2.3
  LASC Ch./.109 Rev. 12/1-8
                                                AND STATEMENT OF LOCATION                                                Page 4 of 4
  For Mandatory Use
  Case 2:21-cv-09590-MCS-MAA Document 1-1 Filed 12/10/21 Page 42 of 79 Page ID #:57

                                                                                                     Resers. fteirClertes-File-Stamp
                  SUPERIOR COURT OF CALIFORNIA
                     COUNTY OF LOS ANGELES
   COURTHOUSE ADDRESS:
                                                                                                               FILED
 Spring Street Courthouse                                                                          Superior Court of California
 312 North Spring Street, Los Angeles, CA 9001.2                                                     County of Los Angeles
                                                                                                          10/26/2021
                      NOTICE OF CASE ASSIGNMENT                                          :WAR.                   Otier
                                                                                                            R.Lozano                    Deputy
                         UNLIMITED CIVIL CASE

                                                                                    CASE NUMBER:

  Your case is assigned for all purposes to the judicial officer indicated below.   215TCV39553

                           THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

                ASSIGNED JUDGE               DEPT      ROOM                   ASSIGNED JUDGE                         DEPT          ROOM
   1     Carolyn B. Kuhl                     12
                                                                  ?IT




    Given to the Plaintiff/Cross-Complainant/Attorney of Record    Sherri R. Carter, Executive Officer / Clerk of Court
    on 10/27/2021                                                         By R. Lozano                                                 Deputy Clerk
              (Date)
LACIV 190(Rev 6/18)        NOTICE OF CASE ASSIGNMENT — UNLIMITED CIVIL CASE
LASC Approved 05/06
                                  INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES
   Case 2:21-cv-09590-MCS-MAA Document 1-1 Filed 12/10/21 Page 43 of 79 Page ID #:58
The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard .and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*Provisionally Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




LACIV 190(Rev 6/18)         NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
LASC Approved 05/06
 Case 2:21-cv-09590-MCS-MAA Document 1-1 Filed 12/10/21 Page 44 of 79 Page ID #:59


                   Superior Court of California, County of Los Angeles



                               ERNAflVE DiSPUTE RESOLit
                                   I NFORMATION PACKAGE

 THE PLAINTIFF MUST SERVE THIS ADR INFORMATION-PAO-AGE ON EACH PARTY WITH THE COMPLAINT.

 CROSS-.COMPLAINANTS nmst serve this ADR Information Package on any new parties named to the action
 w ith the cross-coMplaint.




What is ADR?
ADR helps people find solutions to their legal disputes without going to trial. The main types of ADR are negotiation,
Mediation, -arbitration, and settlement conferences. When ADR is done by phone, videoconference or computer, it may
be called Online Dispute Resolution (ODR). These alternatives to litigation and trial are described below.       -

Advantages of ADR
   • Saves Time: ADR is faster than going to trial.
   • Saves Money: Parties can save on court costs, attorney's fees, and witness fees.
   • Keeps Control (with the parties): Parties choose their ADR process and provider for voluntary ADR.
   • Reduces Stress/Protects Privacy: ADR is done outside the courtroom, in private offices, by phone or online.


Disadvantages of ADR
   •   Costs: If the parties do not resolve their dispute, they may have to pay for ADR, litigation, and trial.
   •   No Public Trial: ADR does not provide a public trial or a decision by a judge or jury.

Main Types of ADR
   1. Negotiation: Parties often talk with each other in person, or by phone or online about resolving their case with a
      settlement agreement instead of a trial. If the parties have lawyers, they will negotiate for their clients.

   2. Mediation: In mediation, a neutral mediator listens to each person's concerns, helps them evaluate the
      strengths and weaknesses of their case, and works with them to try to create a settlement agreement that is
      acceptable to all. Mediators do not decide the outcome. Parties may go to trial if they decide not to settle.

                Mediation may be appropriate when the parties
                  • want to work out a solution but need help from a neutral person.
                  • have communication problems or strong emotions that interfere with resolution.
                Mediation may not be appropriate when the parties
                  • want a public trial and want a judge or jury to decide the outcome.
                  • lack equal bargaining power or have a history of physical/emotional abuse.



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   For Mandatory Use
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                                 How to Arrange Mediation in Los Angeles County

       Mediation for civil cases is voluntary and parties may select any mediator they wish. Options include:

           a. The Civil Mediation Vendor Resource List
              If all parties in an active civil case agreeto mediation, they may contact these organizations
              to request a "Resource List Mediation" for mediation at reduced cost or no cost (for selected
              cases).

                   • ADR Services,Inc. Case Manager Elizabeth Sanchez, elizabeth@adrservices.com
                    (949)863-9800
                  • JAMS,Inc. Assistant Manager Reggie Joseph, RJoseph@jamsadr.com (310) 309-6209
                  • Mediation Center of Los Angeles Program Manager info@ mediationLA.org
                    (833)476-9145

      These organizations cannot accept every case and they may decline cases at their discretion. They may
      offer online mediation by video conference for cases they accept. Before contacting these organizations,
      review important information and FAQs at www.lacourt.org/ADR.Reslist

      NOTE: The Civil Mediation Vendor Resource List program does not accept family law, probate or small
      claims cases.

           b. Los Angeles County Dispute Resolution Programs
              https://hrc.lacourity.goviwp-content/uploads/2020/05/DRP-Fact-Sheet-230ctobern-Current-as-of-October-2019-1.pdf

               Day of trial mediation programs have been paused until further notice.

               Online Dispute Resolution(ODR). Parties in small claims and unlawful detainer (eviction) cases
               should carefully review the Notice and other information they may receive about(ODR)
               requirements for their case.

          c. Mediators and ADR and Bar organizationsthat provide mediation may be found on the internet.

      3. Arbitration: Arbitration is less formal than trial, but like trial, the parties present evidence and
      arguments to the person who decides the outcome. In "binding" arbitration, the arbitrator's
      decision is final; there is no right to trial. In "nonbinding" arbitration, any party can request a
      trial after the arbitrator'sdecision. For more information about arbitration, visit
      http://www.courts.ca.gov/programs-adr.htm

      4. Mandatory Settlement Conferences(MSC): MSCs are ordered by the Court and are often held close
      to the trial date or on the day of trial. The parties and their attorneys meet with a judge or settlement
      officer who does not make a decision but who instead assists the parties in evaluating the strengths and
      weaknesses of the case and in negotiating a settlement. For information about the Court's MSC
      programs for civil cases, visit http://www.lacourt.org/div.ision/civil/C10047.aspx

      Los Angeles Superior Court AD R website: http://www.lacourt.org/division/civil/C10109.aspx
      For general information and videos about ADR, visit http://www.courts.ca.gov/programs-adr.htm


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For Mandatory Use                                                                                           Page 2 of 2
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                EXHIBIT “B”
Case 2:21-cv-09590-MCS-MAA Document 1-1 Filed 12/10/21 Page 47 of 79 Page ID #:62

                                                                           Service of Process
                                                                           Transmittal
                                                                           11/30/2021
                                                                           CT Log Number 540662042
     TO:     James E Hipolit, VP & Gen Csl
             Irex Corporation
             120 N LIME ST
             LANCASTER, PA 17602-2923

     RE:     Process Served in California

     FOR:    Argus Contracting LP (Domestic State: CA)




     ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

     TITLE OF ACTION:                 Re: JUANA ELISA CARRILLO GEIZ, individually, and on behalf of all others similarly
                                      situated // To: Argus Contracting LP
     DOCUMENT(S) SERVED:              --
     COURT/AGENCY:                    None Specified
                                      Case # 21STCV39553
     NATURE OF ACTION:                Employee Litigation
     ON WHOM PROCESS WAS SERVED:      C T Corporation System, GLENDALE, CA
     DATE AND HOUR OF SERVICE:        By Regular Mail on 11/30/2021 postmarked: "Not Post Marked"
     JURISDICTION SERVED :            California
     APPEARANCE OR ANSWER DUE:        None Specified
     ATTORNEY(S) / SENDER(S):         None Specified
     ACTION ITEMS:                    CT will retain the current log

                                      Image SOP

                                      Email Notification, James E Hipolit JHIPOLIT@IREXCORP.COM

                                      Email Notification, Diana Rambler drambler@irexcorp.com

                                      Email Notification, Lorraine Maxwell lshellen@irexcorp.com

                                      Email Notification, Angela Boyle aboyle@irexcorp.com

                                      Email Notification, Shana Nelling snelling@irexcorp.com

                                      Email Notification, Karen Lando klando@irexcorp.com

     REGISTERED AGENT ADDRESS:        C T Corporation System
                                      330 N BRAND BLVD
                                      STE 700
                                      GLENDALE, CA 91203
                                      866-401-8252
                                      EastTeam2@wolterskluwer.com




                                                                           Page 1 of 2 / JN
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                                                                                                         Service of Process
                                                                                                         Transmittal
                                                                                                         11/30/2021
                                                                                                         CT Log Number 540662042
     TO:         James E Hipolit, VP & Gen Csl
                 Irex Corporation
                 120 N LIME ST
                 LANCASTER, PA 17602-2923

     RE:         Process Served in California

     FOR:        Argus Contracting LP (Domestic State: CA)




     The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
     relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
     of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other
     advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
     therein.


     DOCKET HISTORY:

                 DOCUMENT(S) SERVED:                   DATE AND HOUR OF SERVICE:                         TO:                                   CT LOG NUMBER:

                 --                                    By Process Server on 11/10/2021                   James E Hipolit, VP & Gen Csl 540565391
                                                                                                         Irex Corporation




                                                                                                         Page 2 of 2 / JN
Case 2:21-cv-09590-MCS-MAA Document 1-1 Filed 12/10/21 Page 49 of 79 Page ID #:64




  1   Kane Moon(SBN 249834)
         E-mail: kane.moon@moonyanglaw.com
  2   Allen Feghali(SBN 301080)
         E-mail: allenleghali@moonyanglaw.com
  3   Edwin Kamarzarian(SBN 327830)
         E-mail: edwin.kamarzarian moonyanglaw.com
  4   MOON & YANG,APC
      1055 W. Seventh St., Suite 1880
  5   Los Angeles, California 90017
      Telephone:(213) 232-3128
  6   Facsimile:(213) 232-3125

  7   Attorneys for Plaintiff Juana Elisa Carrillo Geiz

  8
                       SUPERIOR COURT OF THE STATE OF CALIFORNIA
  9
                                 FOR THE COUNTY OF LOS ANGELES
 10

 11   JUANA ELISA CARRILLO GEIZ, individually, Case No.: 215TCV39553
      and on behalf of all others similarly situated,
 12                                                   [Hon.Carolyn B. Kuhl, Dept. 12]
                    Plaintiff,
 13                                                   NOTICE OF INITIAL STATUS
                                                      CONFERENCE
 14          VS.
                                                   Date,: January 14, 2022
 15                                                Time: 10:00 a.m.
      ARGUS CONRACTING LP, a California limited Dept: 12
 16   partnership; IREX CORPORATION, a
      Pennsylvania corporation; and DOES 1 through
 17   10, inclusive,

 18                 Defendants

 19

 20

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                             NOTICE OF INITIAL STATUS CONFERENCE
Case 2:21-cv-09590-MCS-MAA Document 1-1 Filed 12/10/21 Page 50 of 79 Page ID #:65




  1   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

  2          PLEASE TAKE NOTICE that the above-entitled Court, located at 312 North Spring

  3   Street, Los Angeles, California 90012, has set an Initial Status Conference for January 14, 2022, at

  4   10:00 a.m. in Department 12. Attached hereto as "Exhibit A" is a true and correct copy of the

  5   court notice.

  6

  7   Dated: November 23, 2021                        Respectfully submitted,

  8                                                    MOON & YANG, APC

  9

 10                                               B
                                                       ane Moon
 11                                                   Allen Feghali
                                                      Edwin Kamarzarian
 12                                                   Attorneys for Plaintiff

 13

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                                                 1
                              NOTICE OF INITIAL STATUS CONFERENCE
Case 2:21-cv-09590-MCS-MAA Document 1-1 Filed 12/10/21 Page 51 of 79 Page ID #:66




            EXHIBIT A
Case 2:21-cv-09590-MCS-MAA Document 1-1 Filed 12/10/21 Page 52 of 79 Page ID #:67


       SUPERIOR COURT OF CALIFORNIA,COUNTY OF LOS ANGELES
                                              Civil Division
                        Central District, Spring Street Courthouse, Department 12

   21STCV39553                                                                    November 16, 2021.
   J UANA ELISA CARRILLO GE1Z vs ARGUS                                                    9:25 AM
   CONTRACTING LP, et al.


    J udge: Honorable Carolyn B. Kuhl                 CSR: None
    J udicial Assistant: L. M'Grecria                 ERM: None
    Courtroom Assistant: None                         Deputy Sheriff: None

    APPEARANCES:
    For Plaintiff(s): No Appearances
    For Defendant(s): No Appearances




    N ATURE OF PROCEEDINGS:COURT ORDER REGARDING NEWLY FILED CLASS
    ACTION

    The Clerk's Office has randomly assigned this case to this department for all purposes. By this
    order, the Court determines this case to be Complex according to Rule 3.400 of the California
    Rules of Court. Pursuant to Government Code Section 70616(a)-(b), each party shall pay a fee
    of S1,000.00 to the Los Angeles Superior Court, within 10 calendar days of this date.

    The Cotirt stays this case for all purposes, except for service of the Summons and Complaint, and
    filing notice of appearance or an affidavit of prejudice pursuant to Code of Civil Procedure
    Section 170.6. The stay continues at least until the Initial Status Conference.
    Initial Status Conference is scheduled for 01/14/2022 at 10:00 AM in Department 12 at Spring
    Street Courthouse.

    This Order addresses:

   (1) Requirements for early sign-up with an e-service provider in order to facilitate
    communication with the parties throughout the pendency of the case.
   (2) Directives regarding appearance at status conferences.
   (3) The nature of the current stay of proceedings and the requirement to file a notice of
    appearance.
   (4) Steps counsel must take to prepare for the Initial Status Conference and to prepare and file a
    Joint Initial Status Conference Response Statement.

    ******

   (.1) Early sign-up with an e-servicc provider.

    For efficiency in communication with counsel, the complex program requires the parties in every
                                              M inute Order                                Page 1 of6
Case 2:21-cv-09590-MCS-MAA Document 1-1 Filed 12/10/21 Page 53 of 79 Page ID #:68

       SUPERIOR COURT OF CALIFORNIA,COUNTY OF LOS ANGELES
                                              Civil Division
                        Central District, Spring Street Courthouse, Department 12

    2ISTCV39553                                                                    November 16, 2021
    J UANA ELISA CARRILLO GEIZ vs ARGUS                                                    9:25 AM
    CONTRACTING LP,et al.


    J udge: Honorable Carolyn B. Kuhl                 CSR: None
    J udicial Assistant: L. M'Greene                  ERM: None
    Courtroom Assistant: None                         Deputy Sheriff': None

    new case to use a third-party cloud service that provides an electronic message board. In order to
    Facilitate communication with counsel prior to the initial Status Conference, the parties must
    sign-up with the e-service provider at least ten court days in advance of the Initial Status
    Conference and advise the Court via email to sscdept12@lacourt.org, which provider was
    selected. The Court will issue an e-service order.
    The court intends to use the message board provided by the e-service provider to communicate
    with the parties in order to determine if the court can issue a Case Management Order and set
    deadlines without the parties or attorneys appearing in the courtroom.
    Electronic service is not thc same as electronic filing. Only traditional methods of filing by
    physical delivery of original papers or by fax filing arc presently available in the Complex
    Courts.

   (2) Directions regarding appearance at status conferences.

    Based on current conditions and public health requirements and recommendations regarding the
    spread of COVID-19, all appearances for status conferences should be by LA CourtConnect(see
    LACourt.org) absent an artieulable special need to appear in person. Counsel also are strongly
    urged to appear via LA CourtConnect for law and motion matters. The Court must reduce
    crowding in our physical court facilities to the maximum extent possible.

   (3) The nature of the current stay of proceedings and the requirement to file a notice of
    appearance.

   As stated above, pending further order of this Court, THESE PROCEEDINGS ARE STAYED
   IN THEIR ENTIRETY. This stay precludes the filing of any answer, demurrer, motion to strike,
   or motions challenging the jurisdiction of the Court; however, each defendant is directed to tile a
   Notice of Appearance for purposes of identification of counsel and preparation °I a service list.
   The filing of such a Notice of Appearance is without prejudice to any challenge to the
   jurisdiction of the Court, substantive or procedural challenges to the Complaint, without
   prejudice to any affirmative defense, and without prejudice to the filing of any cross-complaint
   in this action. This stay is issued to assist the Court and the parties in managing this complex
   ease and to reduce litigation costs through the development of an orderly schedule for briefing
   and hearings on procedural and substantive challenges to the complaint and other issues that may
   assist in the orderly management of these cases. This stay does not preclude the parties from
   informally exchanging documents that may assist in their initial evaluation of the issues
   presented in this case; however, it stays all outstanding discovery requests.
   Nothing in this order stays the time for filing an Affidavit of Prejudice pursuant to Code of Civil
                                                 M inute Order                                Page 2 of6
Case 2:21-cv-09590-MCS-MAA Document 1-1 Filed 12/10/21 Page 54 of 79 Page ID #:69


       SUPERIOR COURT OF CALIFORNIA,COUNTY OF LOS ANGELES
                                              Civil Division       ,
                        Central District, Spring Street Courthouse, Department 12

    21STCV39553                                                                     November 16, 2021
    J UANA EL1SA CARRILLO GEIZ vs ARGUS                                                     9:25 AM
    CONTRACTING LP, et al.


    Judge: Honorable Carolyn B. Kuhl                   CSR: None
    J udicial Assistant: L. M'Greene                   ERM: None
    Courtroom Assistant: None                          Deputy Sheriff: None

    Procedure Section 170.6.

   (4)Steps counsel must take to prepare for the Initial Status Conference and to prepare and file a
    Joint Initial Status Conference Response Statement.

    The court orders counsel to prepare for the Initial Status Conference by identifying and
    discussing the central legal and factual issues in the case. Prior to the Initial Status Conference,
    Counsel for all parties are ordered to meet and confer in person (no later than 10 days before the
    Conference). Counsel for plaintiff is ordered to initiate contact with counsel for defense to begin
    this process. Counsel then must negotiate and agree, as much as possible, on a case management
    plan. To this end, counsel must file a Joint Initial Status Conference Response Statement, five
    court days before the Initial Status Conference. The Joint Response Statement must be filed on
    line-numbered pleading paper and must specifically answer each of the below-numbered topics.
    Do not use the Judicial Counsel Form CM-110(Case Management Statement).

    I. PARTIES AND COUNSEL: Please list all presently-named class representatives and
    presently-named defendants, together with all counsel of record, including counsel's contact and
    email information.

    2. STATUS OF PLEADINGS: Please indicate whether defendant has filed a Notice of
    A ppearance or an Answer to the Complaint, and, if so, indicate the filing date(s).

    3. POTENTIAL ADDITIONAL PARTIES: Indicate whether any plaintiff presently intends to
    add additional class representatives, and, if so, the name(s) and date by which these class
    representatives will be added. Indicate whether any plaintiff presently intends to name additional
    defendants, and, if so, the name(s) and date by which the defendant(s) will be added. Indicate
    whether any appearing defendant presently intends to file a cross-complaint and, if so, the names
    of cross-defendants and the date by which the cross-complaint will be filed.
    4. IMPROPERLY NAMED DEFENDANT(S): If the complaint names the wrong person or
    entity, please explain why the named.defendant is improperly named and the proposed procedure
    to correct this error.

    5. ADEQUACY OF PROPOSED CLASS REPRESENTATIVE(S): If any party believes one or
    more named plaintiffs might not be an adequate class representative, including reasons of
    conflict of interest as described in Apple Computer v. The Superior Court of Los Angeles
    County (2005) 126 Cal.App.4th 1253, please explain. No prejudice will attach to these
    responses.
                                                Minute Order                             Page 3 of6
Case 2:21-cv-09590-MCS-MAA Document 1-1 Filed 12/10/21 Page 55 of 79 Page ID #:70


       SUPERIOR COURT OF CALIFORNIA,COUNTY OF LOS ANGELES
                                               Civil Division
                        Central District, Spring Street Courthouse, Department 12

    21STCV39553                                                                    November 16, 2021
    J UANA ELISA CARRILLO GE1Z vs ARGUS                                                    9:25 AM
    CONTRACTING LP,et al.


    J udge: Honorable Carolyn B. Kuhl                  CSR: None
    J udicial Assistant: L. M'Cireene                  ERM: None
    Courtroom Assistant: None                          Deputy -Sheriff: None


   6. ESTIMATED CLASS SIZE: Please discuss and indicate the estimated class size.

    7. OTHER ACTIONS WITH OVERLAPPING CLASS DEFINITIONS: Please list other eases
    with overlapping class definitions. Please identify the court, the short caption title, the docket
    number, and the case status.

   8. POTENTIALLY RELEVANT ARBITRATION AND/OR CLASS ACTION WAIVER
   CLAUSES: Please state whether arbitration is an issue in this case and attach a sample of any
   relevant clause of this sort. Opposing parties must summarize their views on this issue.

   9. POTENTIAL EARLY CRUCIAL MOTIONS: Opposing counsel should identify and describe
   the significant core issues in the case, and then identify efficient ways to resolve those issues,
   including one or more, of the following:
   Motion to Compel Arbitration,
   Early motions in limine,
   Early motions about particular jury instructions and verdict forms,
   Demurrers,
   Motions to strike,
   Motions Ibr judgment on the pleadings, or
   Motions for summary judgment or summary adjudication.

   1 0. CLASS CONTACT INFORMATION: Counsel should discuss whether obtaining class
   contact information from defendant's records is necessary in this case and, if so, whether the
   parties consent to an "opt-out" notice process(as approved in 'Belaire-West Landscape, Inc. v.
   Superior Court(2007) 149 Cal.App.4th 554, 561). Counsel should address timing and procedure,
   including allocation of cost and the necessity of a third-party administrator.

   I I. PROTECTIVE ORDERS: Parties considering an order to protect confidential information
   from general disclosure should begin with the model protective orders found on the Los Angeles
   Superior Court Website under "Civil Tools for Litigators."

   1 2. DISCOVERY: Please discuss a discovery plan. If the parties cannot agree on a plan,
   summarize each side's views on discovery. The court generally allows discovery on matters
   relevant to class certification, which (*depending on circumstances) may include factual issues
   also touching the merits. The court generally does not permit extensive or expensive discovery
   relevant only to the merits (for example, detailed damages discovery) at the initial stage unless a
                                               M inute Order                                Page 4 of6
Case 2:21-cv-09590-MCS-MAA Document 1-1 Filed 12/10/21 Page 56 of 79 Page ID #:71


     SUPERIOR COURT OF CALIFORNIA,COUNTY OF LOS ANGELES
                          Civil Division
                            Central District, Spring Street Courthouse, Department 12

  21STCV39553                                                                       November 16, 2021
  JUANA ELISA CARRILLO GEIZ vs ARGUS                                                        9:25 AM
  CONTRACTING LP, et al.


  J udge: Honorable Carolyn B. Kuhl                      CSR: None
  J udicial Assistant: L. M'Greene                       ERM: None
  Courtroom Assistant: None                              Deputy Sheriff: None

  persuasive showing establishes early need. If any party seek discovery from absent class
  members, please estimate how many, and also state the kind of discovery you propose (See
  California Rule of Court. Rule 3.768).

  1 3. INSURANCE COVERAGE: Please state if(1) there is insurance for indemnity or
  reimbursement, and (2) whether there are any insurance coverage issues which might affect
  settlement.

  1 4. ALTERNATIVE DISPUTE RESOLUTION: Please discuss ADR and state each party's
  position about it. If pertinent, how can the court help prepare the case for a successful settlement
  negotiation?

   I S. TIMELINE FOR CASE MANAGEMENT: Please recommend dates and times for the
  following:
  The next status conference,
  A schedule for alternative dispute resolution, if it is relevant,
  A filing deadline for the .motion for class certification, and
  Filing deadlines Ibr and descriptions of other anticipated non-discovery motions.

  ******
  Plaintiff's counsel is directed to serve a copy of this Order on counsel for all parties, or, if
  counsel has not been identified, on all parties, within five(5)days of service of this Order. If any
  defendant has not been served in this action, service is to be completed within twenty (20)days
  of the date of this Order. The plaintiff must file a Pi-odor Service in this department within
  seven days of service.


  IT IS SO ORDERED.

4-
• 4.
           Laroly n   P:uhl /Judge
  Ridge of the Superior Court

  DATED: 1 1/16/2021

  Counsel below is to provide notice to all parties.

                                                 M inute Order                             Page 5 of6
Case 2:21-cv-09590-MCS-MAA Document 1-1 Filed 12/10/21 Page 57 of 79 Page ID #:72


       SUPERIOR COURT OF CALIFORNIA,COUNTY OF LOS ANGELES
                                              Civil Division
                        Central District, Spring Street Courthouse, Department 12

    21STCV39.55.3                                                               November 16, 2021
    J UANA ELISA CARRILLO GEIZ vs ARGUS                                                 9:25 AM
    CONTRACTING LP, et al.


    J udge: Honorable Carolyn B. Kuhl                CSR: None
    J udicial Assistant: L. M'Greene                 ERM: None
    Courtroom Assistant: None                        Deputy Sheriff: None



    Certificate of Mailing is attached.




                                              Minute Order                             Page 6 of6
Case 2:21-cv-09590-MCS-MAA Document 1-1 Filed 12/10/21 Page 58 of 79 Page ID #:73

                                                                                     Reserved for Clerk's File Stamp
           SUPERIOR COURT OF CALIFORNIA
              COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:                                                                           FILED
                                                                                    Superior Court of California
Spring Street Courthouse                                                              Co unly of LOS A ngales
312 North Spring Street, Los Angeles, CA 90012                                            1 1/16:2021
PLAINTIFF/PETITIONER:                                                                                 C.^k CC!   Cet,‘,34
Juana Elisa Carrillo Geiz                                                      y:           L. MG tea na

DEFENDANT/RESPONDENT:
Argus Contracting LP et al
                                                                            CASE NUMBER:
                        CERTIFICATE OF MAILING                              21STCV39553

I,the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
party to the cause herein, and that on this date I served the Minute Order(COURT ORDER REGARDING
NEWLY FILED CLASS ACTION)of 11/16/2021 upon each party or counsel named below by placing the.
document for collection and mailing so as to cause it to be deposited in the United States mail at the
courthouse in Los Angeles, California, one copy of the original filed/entered herein in a separate sealed
envelope to each address as shown below with the postage thereon fully prepaid, in accordance with
standard court practices.




    Kane Moon
    Moon & Yang, APC
    1055W 7th St Ste 1880
    Los Angeles, CA 90017




                                                      Sherri R. Carter, Executive Officer / Clerk of Court

Dated: 11/16/2021                                     By:   L. M'Greene
                                                            Deputy Clerk




                                      CERTIFICATE OF MAILING
Case 2:21-cv-09590-MCS-MAA Document 1-1 Filed 12/10/21 Page 59 of 79 Page ID #:74




  1                                       PROOF OF SERVICE

  2
      STATE OF CALIFORNIA
  3                                               )ss
      COUNTY OF LOS ANGELES
  4
             I am employed in the county of Los Angeles, State of California. I am over the age of 18
  5   and not a party to the within action; my business address is 1055 West Seventh Street, Suite 1880,
      Los Angeles, California 90017. On November 23, 2021,I served the foregoing document
  6
      described as:
                              NOTICE OF INITIAL STATUS CONFERENCE
  7

  8
      X by placing        the original X a true copy thereof enclosed in sealed envelope(s)
      addressed as follows:
                                             CT Corporation
  9
                                           330N Brand Blvd
                                          Glendale, CA 91203
 10
                       Agents ofService ofProcessfor Defendant Argus Contracting LP
 11
                                             120 N Lime Street
 12
                                               PO Box 1268
                                         Lancaster, PA 17.608 - 1268
 13
                             Service ofProcessfor Defendant Irex Corporation
 14

 15   [1]   BY U.S. MAIL: I deposited such envelope in the mail at Los Angeles, California. The
             envelope was mailed with postage there6n fully prepaid. I am "readily familiar" with
 16          the firm's practice of collection and processing correspondence for mailing. Under
             that practice it would be deposited with U.S. postal service on that same day with
 17          postage thereon fully prepaid at Los Angeles, California in the ordinary course of
             business. I am aware that on motion of the party served, service is presumed invalid if
 18
             postal cancellation date or postage meter date is more than one day after date of deposit
 19          for mailing in affidavit.

 20    X     (State)         I declare under penalty of perjury under the laws of the State of
                             California that the above is true and correct.
 21
             Executed on November 23, 2021, at Los Angeles, California.
 22

 23
            Ximena Reyes
 24            Name

 25

 26

 27

 28
                                                   1
                                            PROOF OF SERVICE
Case 2:21-cv-09590-MCS-MAA Document 1-1 Filed 12/10/21 Page 60 of 79 Page ID #:75




                EXHIBIT “C”
               Case 2:21-cv-09590-MCS-MAA Document 1-1 Filed 12/10/21 Page 61 of 79 Page ID #:76
Electronically FILED by Superior Court of California, County of Los Angeles on 11/12/2021 04:14 PM Sherri R. Carter, Executive Officer/Clerk of Court, by J. Gnade,Deputy Clerk


                                                                                                                                                                    POS-010
               ATTORNEY OR PARTY WTHOUT ATTORNEY /Nano, State BaI nunber. and addrcsd:                                                         FOR COURT USE ONLY
                MOON & YANG, APC
           -    Kane Moon, Esq. (SBN 249834); Allen Feghali, Esq. (SBN 301080)
                Edwin Kamarzarian, Esq. (SBN 327830)
                1055 West Seventh Street, Suite 1880, Los Angeles, Califomia 90017
                          TELEeHoNE     No.:     (213)   232-3128           FAX No.   (oprb,ar:   (213) 232-3125
               E-MAIL ADDRESS (opr,bna4;         kane.moon; allen.feghali; edwin.kam arzarian@moonyanglaw.com
                  ArroRNEyFoR rruamer:           Plaintiff ruANA ELISA CARRILLO GEIZ
               SUPERIOR COURT OF CALIFORNIA. COUNTY                OF LOS ANGELES
                      STREETADDRESS,             312 North Spring Street
                      MAILING ADDRESS:
                  qwANDzrpcoDe: Los Angeles,              California 90012
                         BRANoHNAME:             SPRINGSTREETCOURTHOUSE
                  PLATNTFF/eEIIoNER:                  JUANA ELISA CARRILLO GEIZ, etc.; et al.                                CASE NUMBER:

                                                                                                                                              21STCV39553
           DEFENDANT/RESPONDENT:                      ARGUS CONTRACTING LP. etc.: et aI.
                                                                                                                            Rsf. No. or Filo No.:

                                                  PROOF OF SERVICE OF SUMMONS
                                                                                                                                                    2006060c8
                                                                  (Separate proof of service is required for each party serued.)
           1.     At the time of service I was at least 18 years of age and not a party to this action.
           2.     I served copies of:
                  a. E              summons
                  b. tZ]            comptaint
                  c. E              Alternative Dispute Resolution (ADR) package
                  d. E              Civil Case Cover Sheet (serued in complex cases onty)
                  e' E cross-complaint                                   Civil Case Cover Sheet Addendum and Statement of Location: Notice of Case Assienment
                  . fV other (specify documents):
                  f                                                      - Unlimited Civil Case

           3.     a,    Party served (specrfy name of party as shown on documents served):
                        IREX CORPORATION, a Pennsylvania corporation

                  O     [7l      Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person
                                 under item 5b on whom substituted service was made) (specify name and relationship to the party named in item 3a):
                          CT Corporation System, Agent for Service of Process by serving Jesse Gastelum, Intake Specialist
           4.     Address where the pafi was served:
                  330 North Brand Boulevard, Suite 700, Glendale, California 91203
           5.      I served     the party (check proper box)
                  a. 7            by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
                                  receive service of process for the party (1) on (date): lll10/2021                (2) at (time): l2:35 p.m.
                  b.                                                                      at (time):            I left the documents listed in item 2 with or
                                   in the presence oI (name and title or relationship to person indicated in item 3):


                                   (1) n            (business) a person at least 18 years of age apparently in charge at the office or usual place of business
                                                    of the person to be served. I informed him or her of the general nature of the papers.

                                   (2) n            (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual
                                                    place of abode of the party. I informed him or her of the general nature of the papers.

                                   (3)    [_l       (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing
                                                    address of the person to be served, other than a United States Postal Service post office box. I informed
                                                    him or her ofthe general nature ofthe papers.
                                   (4)    l-l       I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served
                                                    at the place where the copies were left (Code Civ. Proc., S 41?.2Q1. I mailed the documents on
                                                    (date):               fiom        (city):                    or    | | a declaration of mailing is attached.
                                   (5)    n          I attach a   declaration of diligence stating actions taken first to attempt personal service.
                                                                                                                                                                       Paga   I   of 2
               Fom Adoptsd for Mandatory Us6
                 Judicial Council of Califomia                             PROOF OF SERVICE OF SUMMONS
               POSO1o [Rev. January 1,20071
     Case 2:21-cv-09590-MCS-MAA Document 1-1 Filed 12/10/21 Page 62 of 79 Page ID #:77

       PLAINTIFF/PETITIoNER:            JUANA ELISA CARRILLO GEIZ. etc.: et aI.                         CASE NUMBER:

                                                                                                                       2l STCV39553
 DEFENDANT/RESPoNDENT:                  ARGUS CONTRACTING LP. etc.: et aI.

5. c. E               by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the
                      address shown in item 4, by first-class mail, postage prepaio,
                      (1) on (date):                                           (2) trom (city):
                      (3) n     with two copies of the Notice and Acknowledgment of Receiptand a postage-paid return envelope addressed
                                to me. (Aftach completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc., g 415.30.)
                      (4) [--l to an address outside California with return receipt requested. (Code Civ. proc., g 415.40.)

      d. l            by other means (specify means of seryice and authorizing code section):



            [_l       ROoitional page describing service is attached.

      The "Notice to the Person served" (on the summons) was completed as follows:
       a. l-l as an individual defendant.
      b.              as the person sued under the fictitious name of     (specfi:
      c' E            as occupant.
      d f/ |          on beharf of (specify): IREX         coRpoRATIoN,            a pennsylvania corporation
                      under the following Code of Civil Procedure section:
                                  l-7-l atO.to (corporation)                        t=   415.95 (business organization, form unknown)
                                  la    qrc.zO (defunct corporation)
                                                                                    E 416.60 (minor)
                                  1-]   +t O.gO (oint stock company/association)    E 416.70 (ward or conservatee)
                                  l-]   ato.aO (association or partnership)         E 6.90 (authorized person)
                                                                                         41
                                  l-l   +to.so (pubtic entity)                      E 415.46 (occupant)
7.    Person who served papers
                                                                                    E other:
      a. Name: Hector Acuna, Ace Attorney Service, Inc.
      b. Address: 8l I wilshire Boulevard, Suite 900, Los Angeles, california                         90017
      c. Tetephone number: (213) 623-3979
      d.   The fee for service was: $ 54.25
      e.    lam:
            (1)    fzl not a registered California process server.
            (2)        exempt from registration under Business and Professions Code section 223S0(b).
            (3)
                   f]
                   | | a registered California process server:
                       (i) l-l owner l-l emptoyee [_l independent contractor.
                          (ii) Registration No.:
                          (iii)   County:

I' l7l         I   declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.

               or
9. l-l         I am a   California sheriff or marshal and I certify that the foregoing is true and correct.

Date: November             ll.202l
                          HECTOR ACUNA
           (NAME OF PERSON \^/FIO SERVED PAPERS/SHERIFF OR MARSHAL)




POS-010 [R6v. January 1,200I
                                                                                                                                        Page 2 ot 2
                                                         PROOF OF SERVICE OF SUMMONS
Case 2:21-cv-09590-MCS-MAA Document 1-1 Filed 12/10/21 Page 63 of 79 Page ID #:78




                EXHIBIT “D”
              Case 2:21-cv-09590-MCS-MAA Document 1-1 Filed 12/10/21 Page 64 of 79 Page ID #:79

         Electronically FILED by Superior Court of California, County of Los Angeles on 12/08/2021 11:53 AM Sherri R. Carter, Executive Officer/Clerk of Court, by C. Perez,Deputy Clerk


                   1      Rebecca Aragon, Bar No. 134496
                          raragon@littler.com
                   2      Jacob Krall, Bar No. 296078
                          jkrall@littler.com
                   3      LITTLER MENDELSON P.C.
                          633 West Fifth Street
                   4      63rd Floor
                          Los Angeles, California 90071
                   5      Telephone:      213.443.4300
                          Fax No.:        213.449.4299
                   6
                          Attorneys for Defendants
                   7      ARGUS CONTRACTING, LP AND IREX
                          CORPORATION
                   8

                   9                                    SUPERIOR COURT OF THE STATE OF CALIFORNIA
                10                                                           COUNTY OF LOS ANGELES
                11

                12        JUANA ELISA CARRILLO GEIZ, individually                                          Case No. 21STCV39553
                          and on behalf of all others similarly situated,
                13                                                                                         ANSWER AND AFFIRMATIVE
                                                    Plaintiff,                                             DEFENSES TO UNVERIFIED CLASS
                14                                                                                         ACTION COMPLAINT
                                   v.
                15
                          ARGUS CONTRACTING LP, a California                                               Complaint Filed: October 26, 2021
                16        limited partnership; IREX CORPORATION, a
                          Pennsylvania corporation; and DOES 1 through
                17        10, inclusive,
                18                                  Defendants.
                19

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LITTLER MENDELSON P.C.    4894-0264-4485.2 / 083674-1008
    18565 Jamboree Road
           Suite 800
      Irvine, CA 92612
        949.705.3000


                                                                    ANSWER TO CLASS ACTION COMPLAINT
              Case 2:21-cv-09590-MCS-MAA Document 1-1 Filed 12/10/21 Page 65 of 79 Page ID #:80



                   1               Defendants Argus Contracting LP and Irex Corporation (collectively, “Defendants”),
                   2      answering the Complaint of Plaintiff JUANA ELISA CARRILLO GEIZ (“Plaintiff”), individually,
                   3      on behalf of all other similarly situated, hereby answer Plaintiff’s unverified Complaint pursuant to
                   4      Code of Civil Procedure Section 431.30(b), as follows:
                   5                                                GENERAL DENIAL
                   6               Defendants deny each and every, all and singular, of the allegations contained in the
                   7      Complaint, conjunctively and disjunctively, and further deny that Plaintiff Geiz, or any purported
                   8      plaintiff class member (collectively “Plaintiff”) sustained any damages in the sums alleged, or any
                   9      other sum, or at all, and further generally and specifically deny that Plaintiff is entitled to any relief
                10        whatsoever.
                11                                           FIRST AFFIRMATIVE DEFENSE
                12                                           (FAILURE TO STATE A CLAIM)
                13                 The Complaint, and each cause of action alleged therein, fails to state facts sufficient to
                14        constitute a cause of action.
                15                                         SECOND AFFIRMATIVE DEFENSE
                16                          (COLLECTIVE BARGAINING AGREEMENT – ARBITRATION)
                17                 Defendants allege that Plaintiff’s claims, and that of the putative class, are barred on the ground
                18        that the employment of Plaintiff and/or other putative class members is governed by a Collective
                19        Bargaining Agreement, which includes an arbitration agreement and, therefore, Plaintiff’s, and the
                20        putative class’s, exclusive remedy for the claims in the Complaint is through final and binding
                21        arbitration.
                22                                          THIRD AFFIRMATIVE DEFENSE
                23                            (COLLECTIVE BARGAINING AGREEMENT – EXEMPTION)
                24                 Defendant alleges that by virtue of collective bargaining agreements, Plaintiff and certain
                25        members of the putative class are exempt from certain overtime and meal and rest period obligations
                26        under the provisions of the applicable Wage Orders and the Labor Code, including but not limited to
                27        Wage Order 16 and Labor Code section 514, and those claims are, therefore, barred.
                28        ///
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                   1                                           FOURTH AFFIRMATIVE DEFENSE
                   2                         (COLLECTIVE BARGAINING AGREEMENT – PREEMPTION)
                   3               Defendant alleges that the Complaint and causes of action alleged therein are barred because
                   4      Plaintiff’s Complaint is substantially dependent upon an analysis of the provisions, terms and
                   5      conditions of a collective bargaining agreements that existed at all relevant times between Defendant
                   6      Argus Contracting LP and the union(s) representing Plaintiff and the putative class, and the complaint
                   7      is therefore preempted by section 301(a) of the Labor-Management Relations Act (“LMRA”), 29
                   8      U.S.C. § 185(a) (“Section 301”).
                   9                                            FIFTH AFFIRMATIVE DEFENSE
                10                                         (LACK OF SUBJECT MATTER JURISDICTION)
                11                 Defendants allege that this Court lacks subject matter jurisdiction over Plaintiff’s claims, and
                12        those of the putative class, due to the presence of a mandatory, binding arbitration agreement between
                13        Plaintiff, and/or members of the putative class, and Defendants contained in the parties’ Collective
                14        Bargaining Agreement(s). The filing of this Complaint violates Plaintiff’s, and the putative class’s,
                15        agreement to arbitrate and the Complaint should be dismissed and/or stayed and Plaintiff, and
                16        individual members of the putative class, should be compelled to arbitrate.
                17                                              SIXTH AFFIRMATIVE DEFENSE
                18                                            (DEFENDANT NOT THE EMPLOYER)
                19                 The Complaint, and each and every cause of action alleged therein, is barred, in whole or in
                20        part, because Plaintiff, and/or some or all of the putative class/collective members were not employed
                21        by Defendant Irex Corporation.
                22                                             SEVENTH AFFIRMATIVE DEFENSE
                23                                                (STATUTE OF LIMITATIONS)
                24                 The Complaint is barred, in whole or in part, by the applicable statute(s) of limitation, including
                25        without limitation, Civil Procedure sections 338(a), 340(a) and 343, California Labor Code section
                26        203(b) and California Business and Professions Code section 17208.
                27        ///
                28        ///
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                   1                                        EIGHTH AFFIRMATIVE DEFENSE
                   2                                             (LACK OF STANDING)
                   3               The Complaint, and each cause of action set forth therein, or some of them, is barred because
                   4      the named Plaintiff lacks standing as a representative of the proposed class and does not adequately
                   5      represent the putative class members.
                   6                                        NINTH AFFIRMATIVE DEFENSE
                   7                              (CLASS ACTION – CERTIFICATION PREREQUISITES)
                   8               The Complaint, and each cause of action set forth therein, or some of them, is barred because
                   9      Plaintiff has failed to, and cannot, satisfy the requirements for the maintenance of a class,
                10        representative, or collective action, including, and without limitation, ascertainability, predominance,
                11        adequacy of representation (of both the proposed class representative and proposed class counsel), and
                12        superiority (under the requirements of California Code of Civil Procedure section 382 or Rule 23 of
                13        the Federal Rules of Civil Procedure), and further alleges that public policy considerations do not favor
                14        such a certification.
                15                                          TENTH AFFIRMATIVE DEFENSE
                16                                   (CLASS ACTION STATUS – UNCONSTITUTIONAL)
                17                 The Complaint, and each cause of action set forth therein, or some of them, is barred because
                18        certification of a class, as applied to the facts and circumstances of this case, would constitute a denial
                19        of Defendants’ due process rights, both substantive and procedural, in violation of the Fourteenth
                20        Amendment to the United States Constitution and the California Constitution and/or a denial of
                21        Defendants’ equal protection.
                22                                         ELEVENTH AFFIRMATIVE DEFENSE
                23                                     (CLASS ACTION – LACK OF MANAGEABILITY)
                24                 The Complaint, and each cause of action set forth therein, or some of them, is barred because
                25        of difficulties likely to be encountered that render the action unmanageable.
                26                                         TWELFTH AFFIRMATIVE DEFENSE
                27                                          (CLASS ACTION – NO DAMAGES)
                28                 The Complaint, and each cause of action set forth therein, or some of them, is barred because
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                   1      this case cannot be tried on a representative basis or with the use of statistical sampling consistent with
                   2      due process because the use of representative evidence or statistical sampling would result in damages
                   3      being awarded to those who have suffered no injury and have no legal right to damages.
                   4                                       THIRTEENTH AFFIRMATIVE DEFENSE
                   5                                             (EQUITABLE DEFENSES)
                   6               Defendants are informed and believe that a reasonable opportunity for investigation and
                   7      discovery will reveal and, on that basis allege any recovery on Plaintiff’s Complaint is barred, in
                   8      whole or in part, to the extent that Plaintiff and/or the alleged putative class members’ claims are
                   9      estopped, barred by laches, or barred by unclean hands.
                10                                         FOURTEENTH AFFIRMATIVE DEFENSE
                11                                                   (UNCERTAINTY)
                12                 Any recovery on Plaintiff’s Complaint is barred, in whole or in part, because Plaintiff’s and/or
                13        the alleged putative class members’ Complaint is uncertain.
                14                                         FIFTEENTH AFFIRMATIVE DEFENSE
                15                                                      (CONSENT)
                16                 Defendants are informed and believe that a reasonable opportunity for investigation and
                17        discovery will reveal and, on that basis allege the Complaint and each cause of action alleged therein
                18        are barred by the doctrine of consent.
                19                                         SIXTEENTH AFFIRMATIVE DEFENSE
                20                                                    (GOOD FAITH)
                21                 The Complaint, in whole or in part, is barred to the extent that any violation of the Labor Code
                22        or an order of the Industrial Welfare Commission was an act or omission made in good faith, and
                23        Defendants had reasonable grounds for believing that the act or omission was not a violation of the
                24        Labor Code or any order of the Industrial Welfare Commission and that, accordingly, they did not
                25        willfully or intentionally fail to pay additional compensation to Plaintiff or class members, and no
                26        waiting time penalties should be awarded Plaintiff or class members for any violation thereof that may
                27        be found to exist.
                28        ///
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                   1                                       SEVENTEENTH AFFIRMATIVE DEFENSE
                   2                                             (BUSINESS NECESSITY)
                   3               The Complaint is barred, in whole or in part, to the extent the conduct taken by Defendants
                   4      toward Plaintiff or the putative class members was for lawful business reasons and by reason of
                   5      business necessity.
                   6                                       EIGHTEENTH AFFIRMATIVE DEFENSE
                   7            (INJURY RESULTED FROM ACT OR OMISSION OF PLAINTIFF AND/OR THE
                   8                                                PUTATIVE CLASS)
                   9               Defendants are informed and believe that a reasonable opportunity for investigation and
                10        discovery will reveal and, on that basis allege each purported cause of action contained in the
                11        Complaint, or some of the causes of action, are barred because the alleged losses or harms sustained
                12        by Plaintiff and/or the putative class, if any, resulted from the acts or omissions of Plaintiff and/or the
                13        putative class, and/or was proximately caused by the actions or inactions of Plaintiff and/or the putative
                14        class.
                15                                         NINETEENTH AFFIRMATIVE DEFENSE
                16                                                (BREACH OF DUTIES)
                17                 Defendants are informed and believe that a reasonable opportunity for investigation and
                18        discovery will reveal and, on that basis allege, that the Complaint and each cause of action set forth
                19        therein is barred by Plaintiff’s and/or the alleged putative class members’ own breach of duties owed
                20        to Defendants under California Labor Code sections 2853, 2854, and/or 2856-2859, because, inter
                21        alia, Plaintiff and/or the alleged putative class members’ affirmatively indicated she/they received
                22        meal breaks and compensation for time and otherwise failed to report claims upon which the complaint
                23        is asserted.
                24                                         TWENTIETH AFFIRMATIVE DEFENSE
                25                                          (FAILED TO COMPLY WITH POLICY)
                26                 Defendants are informed and believe that a reasonable opportunity for investigation and
                27        discovery will reveal and, on that basis allege, that the Complaint is barred, in whole or in part, to the
                28        extent Plaintiff or the putative class members failed to comply with Defendants’ policies or
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                   1      instructions and such failure proximately caused their alleged damages, if any.
                   2                                       TWENTY-FIRST AFFIRMATIVE DEFENSE
                   3                                            (AVOIDABLE CONSEQUENCES)
                   4               Defendants are informed and believe that a reasonable opportunity for investigation and
                   5      discovery will reveal and, on that basis allege, that Plaintiff’s claims and those of the putative class
                   6      members are barred, in whole or in part, by the doctrine of avoidable consequences, including, but not
                   7      limited to, Defendants’ clearly communicated policy prohibiting improper pay practices that provided
                   8      Plaintiff and the putative class members a mechanism to complain or report improper pay practices,
                   9      and Plaintiff and the putative class members failed to take advantage of such complaint mechanisms
                10        to report any of the acts or omissions alleged in the Complaint.
                11                                         TWENTY-SECOND AFFIRMATIVE DEFENSE
                12                                                    (NO PERMISSION)
                13                 Defendants are informed and believe that a reasonable opportunity for investigation and
                14        discovery will reveal and, on that basis allege that if Plaintiff and some or all of the putative class
                15        Plaintiff seeks to represent “worked” hours for which compensation was not paid, Defendants had no
                16        knowledge, or reason to know, of such “work” and such “work” was undertaken without the consent
                17        or permission of Defendants.
                18                                         TWENTY-THIRD AFFIRMATIVE DEFENSE
                19                                                (FAILURE TO MITIGATE)
                20                 Defendants are informed and believe that a reasonable opportunity for investigation and
                21        discovery will reveal and, on that basis allege Plaintiff and some or all of the putative class Plaintiff
                22        seeks to represent have failed to exercise reasonable care to mitigate their damages, if any, including
                23        but not limited to the extent that Plaintiff and putative class members worked any unpaid time and
                24        failed to report such unpaid time to Defendants; to the extent that Plaintiff and putative class members
                25        failed to take any meal break that was provided by Defendants, and/or failed to report to Defendants
                26        any inability to take a meal break, and/or reported having taken meal breaks when, in fact, the meal
                27        breaks were not taken; and to the extent that Plaintiff and putative class members failed to follow
                28        company rules and procedures, including those articulated in the Collective Bargaining Agreement(s),
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                   1      regarding the recording of work time, the taking of meal breaks, and/or failed to complete work in a
                   2      timely manner. If it is determined that Plaintiff and/or putative class members have the right to any
                   3      recovery against Defendants, such recovery should be reduced and/or eliminated by such failure to
                   4      mitigate damages.
                   5                                       TWENTY-FOURTH AFFIRMATIVE DEFENSE
                   6                                        (FAILURE TO TAKE BREAKS PROVIDED)
                   7               Defendants are informed and believe that a reasonable opportunity for investigation and
                   8      discovery will reveal and, on that basis allege, that, assuming arguendo Plaintiff and/or the putative
                   9      class she seeks to represent were entitled to meal breaks, Plaintiff and/or the putative class she seeks
                10        to represent have no right to a premium payment under California Labor Code section 226.7 because
                11        they (1) failed to take breaks that were provided to them in compliance with California law, (2) chose
                12        not to take the breaks that were authorized and permitted, (3) chose not to take breaks without
                13        permission or the actual or constructive knowledge of Defendants, or (4) waived their right to meal
                14        breaks under California Labor Code section 512(a).
                15                                          TWENTY-FIFTH AFFIRMATIVE DEFENSE
                16                        (LABOR CODE SECTIONS 201 AND 202 – GOOD FAITH DISPUTE)
                17                 The Complaint fails to state a claim for penalties under the California Labor Code because (1)
                18        there are bona fide good faith disputes as to whether further compensation is due to Plaintiff and/or
                19        the putative class members, and if so, as to the amount of such further compensation; (2) Defendants
                20        have not willfully failed to pay such additional compensation, if any is owed; and (3) to impose
                21        penalties in this case would be inequitable and unjust.
                22                                          TWENTY-SIXTH AFFIRMATIVE DEFENSE
                23              (LABOR CODE SECTION 203 – NO WILLFUL OR INTENTIONAL VIOLATION)
                24                 The Complaint fails to state a claim for penalties under California Labor Code section 203
                25        because Defendants did not willfully or intentionally violate Labor Code sections 201 or 202.
                26                                         TWENTY-SEVENTH AFFIRMATIVE DEFENSE
                27                           (WAITING TIME PENALTIES – STATUTE OF LIMITATIONS)
                28                 Any claims for penalties pursuant to Labor Code section 203 are barred, in whole or in part,
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                   1      by the statute of limitations, as any claim stopped accruing upon the filing of the complaint.
                   2                                       TWENTY-EIGHTH AFFIRMATIVE DEFENSE
                   3                        (NO INJURY OR STANDING FOR WAGE STATEMENT CLAIM)
                   4                Even if Defendants failed to provide Plaintiff and/or members of the putative class with
                   5      accurate itemized wage statements, which Defendants deny, Plaintiff and the putative class did not
                   6      suffer injury as a result of such failure and so lack standing to assert a claim under California Labor
                   7      Code section 226.
                   8                                       TWENTY-NINTH AFFIRMATIVE DEFENSE
                   9                        (WAGE STATEMENTS – NOT KNOWING AND INTENTIONAL)
                10                  Any claims for penalties pursuant to Labor Code section 226 are barred, in whole or in part,
                11        because Plaintiff and the putative class members were not “injured” thereby and/or because
                12        Defendants’ alleged failure to comply with California Labor Code section 226(a) was not a “knowing
                13        and intentional failure” under California Labor Code § 226(e).
                14                                           THIRTIETH AFFIRMATIVE DEFENSE
                15        (FAILURE TO REIMBURSE BUSINESS EXPENSES – NOT REASONABLY NECESSARY
                16                                                     OR REQUIRED)
                17                  Defendants are informed and believe that a reasonable opportunity for investigation and
                18        discovery will reveal and, on that basis allege any claims for civil penalties pursuant to Labor Code
                19        section 2802 are barred, in whole or in part, because the expenses claimed were not reasonably
                20        necessary/required for job and/or were not incurred in direct consequence of the discharge of their
                21        duties.
                22                                          THIRTY-FIRST AFFIRMATIVE DEFENSE
                23                                          (SECTION 17200 UNCONSTITUTIONAL)
                24                  The prosecution of a representative action on behalf of the general public under California
                25        Business and Professions Code section 17200, et seq., is unconstitutionally vague and overbroad and,
                26        as applied to the facts and circumstances of this case, would constitute a denial of Defendants’ due
                27        process rights, both substantive and procedural, and right to equal protection in violation of the
                28        California Constitution and the Fourteenth Amendment to the United States Constitution, in that it
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                   1      would prevent Defendants from raising individual defenses against each putative class member.
                   2                                       THIRTY-SECOND AFFIRMATIVE DEFENSE
                   3                                            (ADEQUATE REMEDY AT LAW)
                   4               Plaintiff’s claim for injunctive relief is barred because Plaintiff has an adequate and complete
                   5      remedy at law.
                   6                                        THIRTY-THIRD AFFIRMATIVE DEFENSE
                   7                         (NO STANDING FOR UNFAIR BUSINESS PRACTICES CLAIM)
                   8               The eighth cause of action fails to the extent that Plaintiff lacks standing as a representative of
                   9      a purported class under California Business and Professions Code section 17204.
                10                                         THIRTY-FOURTH AFFIRMATIVE DEFENSE
                11                                                   (NO RESTITUTION)
                12                 Plaintiff’s claims seeking recovery in the form of restitution, disgorgement, or injunctive relief
                13        under California Business and Professions Code section 17200, et seq., are barred with respect to any
                14        alleged violations that have been discontinued, ceased, or are not likely to recur.
                15                                          THIRTY-FIFTH AFFIRMATIVE DEFENSE
                16                                                (NO COGNIZABLE INJURY)
                17                 Plaintiff and some or all of the putative class Plaintiff seeks to represent suffered no cognizable
                18        injury under California Business and Professions Code section 17200 et seq., and therefore lack
                19        standing to pursue a representative action thereunder.
                20                                          THIRTY-SIXTH AFFIRMATIVE DEFENSE
                21                                         (NOT A PROPER REPRESENTATIVE ACTION)
                22                 As a separate and distinct affirmative defense, Plaintiff’s claims under California Business and
                23        Professions Code section 17200 et seq. do not constitute a proper representative action.
                24                                         THIRTY-SEVENTH AFFIRMATIVE DEFENSE
                25                                            (NO RESTITUTION UNDER THE UCL)
                26                 Plaintiff’s claims for restitution pursuant to California Business and Professions Code section
                27        17200 et seq., are barred to the extent they constitute claims for damages.
                28
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                   1                                       THIRTY-EIGHTH AFFIRMATIVE DEFENSE
                   2                                                   (DE MINIMIS)
                   3               Defendants are informed and believe that a reasonable opportunity for investigation and
                   4      discovery will reveal and, on that basis allege that some or all of the wages purportedly owed to
                   5      Plaintiff or the putative class members, and which Plaintiff seeks to recover, is for time that is not
                   6      compensable pursuant to the doctrine of de minimis non curat lex.
                   7                                       THIRTY-NINTH AFFIRMATIVE DEFENSE
                   8                                                     (OFFSET)
                   9               To the extent Plaintiff or the putative class members are entitled to any additional
                10        compensation, such additional compensation must be offset by the amount of any compensation and/or
                11        other monies Plaintiff or the putative class members received from Defendants, at any time, in excess
                12        of the amount of compensation to which they were legally entitled for work performed.
                13                                           FORTIETH AFFIRMATIVE DEFENSE
                14                                             (COMPROMISE AND RELEASE)
                15                 The Complaint is barred, in whole or in part, to the extent Plaintiff or the putative class
                16        members knowingly and voluntarily settled, compromised, and release claims alleged in this lawsuit.
                17                                          FORTY-FIRST AFFIRMATIVE DEFENSE
                18                                                      (RELEASE)
                19                 The Complaint is barred by waiver and release to the extent that Plaintiff and/or any putative
                20        class members have released or will release Defendants from liability for such claims asserted in the
                21        Complaint prior to adjudication of those claims.
                22                                         FORTY-SECOND AFFIRMATIVE DEFENSE
                23                                                (UNJUST ENRICHMENT)
                24                 Defendants are informed and believe that a reasonable opportunity for investigation and
                25        discovery will reveal and, on that basis allege the Complaint is barred, in whole or in part, by the
                26        doctrine of unjust enrichment.
                27        ///
                28        ///
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                   1                                        FORTY-THIRD AFFIRMATIVE DEFENSE
                   2                       (CLAIMS UNCONSTITUTIONALLY VAGUE AND AMBIGUOUS)
                   3               The Complaint, and each cause of action set forth therein, or some of them, is barred because
                   4      the applicable Wage Orders of the Industrial Welfare Commission and California Business and
                   5      Professions Code sections 17200 et seq., are unconstitutionally vague and ambiguous and violate
                   6      Defendants’ rights under the United States Constitution and the California Constitution as to, among
                   7      other things, due process of law.
                   8                                       FORTY-FOURTH AFFIRMATIVE DEFENSE
                   9                                  (LACK OF STANDING TO RECOVER PENALTIES)
                10                 Plaintiff lacks standing to bring this action for, and the court lacks jurisdiction to award, certain
                11        of the penalties sought in the Complaint, as such penalties may only be imposed in a proceeding
                12        brought by the California Labor Commissioner.
                13                                          FORTY-FIFTH AFFIRMATIVE DEFENSE
                14                              (FAILURE TO EXHAUST ADMINISTRATIVE REMEDIES)
                15                 Defendants are informed and believe that a reasonable opportunity for investigation and
                16        discovery will reveal and, on that basis allege that the Court lacks jurisdiction over the subject matter
                17        of this action by reason of Plaintiff’s failure to timely and/or completely exhaust her administrative
                18        remedies under the Collective Bargaining Agreement that governs her employment.
                19                                          FORTY-SIXTH AFFIRMATIVE DEFENSE
                20                                                  (EXCESSIVE FINES)
                21                 As applied in this putative class action, employment of civil penalties would result in the
                22        imposition of excessive fines in violation of Article I, section 17 of the California Constitution and the
                23        Eighth Amendment to the United States Constitution, as made applicable to the states under the
                24        Fourteenth Amendment to the United States Constitution. See People ex rel Lockyer v. R.J. Reynolds
                25        Tobacco Company, 37 Cal. 4th 707 (2005).
                26                                         FORTY-SEVENTH AFFIRMATIVE DEFENSE
                27                                             (NO PREJUDGMENT INTEREST)
                28                 The Complaint fails, in whole or in part, to properly state a claim upon which prejudgment
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                   1      interest may be awarded, as the damages claimed are not sufficiently certain to allow an award of
                   2      prejudgment interest.
                   3                                        FORTY-EIGHTH AFFIRMATIVE DEFENSE
                   4                                               (NO ATTORNEYS’ FEES)
                   5               The Complaint fails, in whole or in part, to state a claim for which attorneys’ fees and costs
                   6      may be granted.
                   7                                       FORTY-NINETH AFTTIERMATIVE DEFENSE
                   8                                                       (Estoppel)
                   9                Defendants allege that, to the extent evidence of such is developed, Plaintiff’s Complaint and
                10        the purported causes of action therein are barred by the doctrine of estoppel.
                11                                            FIFTIETH AFFIRMATIVE DEFENSE
                12                                                         (Own Acts)
                13                 Defendants are informed and believe that a reasonable opportunity for investigation and
                14        discovery will reveal and, on that basis allege, that if Plaintiff and those who Plaintiff seeks to represent
                15        have suffered any harm/damages (which is expressly denied), said harm/damages was proximately
                16        caused by their own acts.
                17                                         RESERVATION OF ADDITIONAL DEFENSES
                18                           Defendants allege that the Complaint does not describe the claims or facts being alleged
                19        with sufficient particularity to permit Defendants to ascertain what other defenses may exist.
                20        Defendants will rely on any and all further defenses that become available or appear during discovery
                21        in this action and specifically reserve the right to amend this Answer for purposes of asserting such
                22        additional defenses.
                23                                                  PRAYER FOR RELIEF
                24                 WHEREFORE, Defendants pray that:
                25                 1.        Plaintiff take nothing by way of the Complaint;
                26                 2.        The Complaint and each claim for relief be dismissed in its entirety with prejudice;
                27                 3.         Plaintiff be denied each and every demand and prayer for relief contained in the
                28        Complaint;
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                   1               4.        Costs of suit incurred herein, including reasonable attorneys’ fees and costs, as and
                   2      where permitted under California law, be awarded to Defendants; and
                   3               5.        The Court grant other and further relief as it deems just and equitable.
                   4

                   5      Dated: December 8, 2021                                  LITTLER MENDELSON P.C.
                   6

                   7
                                                                                   Rebecca Aragon
                   8                                                               Jacob Krall
                                                                                   Attorneys for Defendants
                   9                                                               ARGUS CONTRACTING LP and IREX
                                                                                   CORPORATION
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        949.705.3000                                                          14
                                                           ANSWER TO CLASS ACTION COMPLAINT
              Case 2:21-cv-09590-MCS-MAA Document 1-1 Filed 12/10/21 Page 78 of 79 Page ID #:93



                   1                                                PROOF OF SERVICE
                                                       Juana Elisa Carrillo Geiz v. Argus Contacting, et al.
                   2                              Los Angeles County Superior Court Case No. – 21STCV39553
                   3              I am employed in the County of Los Angeles, State of California. I am over the age of 18, and
                          not a party to the within action. My business address is 633 West Fifth Street, 63rd Floor, Los Angeles,
                   4      CA 90071.
                   5               On December 8, 2021, I served the within documents described as:
                   6              ANSWER AND AFFIRMATIVE DEFENSES TO UNVERIFIED CLASS ACTION
                                                         COMPLAINT
                   7
                          on the interested parties by placing ☐ the original [or] ☒a true copy thereof ☒to interested parties
                   8
                          as follows [or] ☒as stated on the below service list:
                   9        Kane Moon                                              Attorneys for Plaintiff, JUANA ELISA
                10          Allen Feghali                                          CARRILLO GEIZ
                            Edwin Kamarzarian
                11          MOON & YANG, APC
                            1055 W. Seventh Street, Suite 1880
                12          Los Angeles, CA 90017
                            Telephone: 213.232.3128
                13          Facsimile: 213.232.3125
                14          E-mail: kane.moon@moonyanglaw.com
                                      Allen.feghali@moonyanglaw.com
                15                    Edwin.kamarzarian@moonyanglaw.com

                16

                17              ☐             BY UNITED STATES MAIL. by placing a true copy of the document listed
                                              above for collection and mailing following the firm’s ordinary business practice
                18                            in a sealed envelope with postage thereon fully prepaid for deposit in the United
                                              States mail at Los Angeles, California addressed as set forth below.
                19
                                               BY ELECTRONIC MAIL: Due to COVID-19 and pursuant to Judicial Council
                20             ☒               Emergency Rule 12(b)(1), (2), Code of Civil Procedure section 1010.6(a)(4)(B),
                21                             and CRC 2.251 (c)(1) (amended eff 1/1/2020), I served the foregoing document
                                               described by emailing to it each of the aforementioned electronic mail addresses
                22                             and the transmission was reported as complete and without error. My email
                                               address is mjan@littler.com.
                23

                24                I declare under penalty of perjury under the laws of the State of California that the above is
                          true and correct.
                25
                                   Executed on December 8, 2021, at Los Angeles, California.
                26                                                                  /s/ Mary An
                                                                                    Mary An
                27

                28
LITTLER MENDELSON P.C.
    18565 Jamboree Road
           Suite 800      4894-0264-4485.2 / 083674-1008
      Irvine, CA 92612
        949.705.3000                                                          15
                                                           ANSWER TO CLASS ACTION COMPLAINT
    Case 2:21-cv-09590-MCS-MAA Document 1-1 Filed 12/10/21 Page 79 of 79 Page ID #:94



SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
Branch Name: Spring Street Courthouse
Mailing Address: 312 North Spring Street
City, State and Zip Code: Los Angeles CA 90012



SHORT TITLE: JUANA ELISA CARRILLO GEIZ vs ARGUS CONTRACTING LP, et al.       CASE NUMBER:
                                                                             21STCV39553
         NOTICE OF CONFIRMATION OF ELECTRONIC FILING

The Electronic Filing described by the below summary data was reviewed and accepted by the Superior Court of
California, County of LOS ANGELES. In order to process the filing, the fee shown was assessed.

Electronic Filing Summary Data

Electronically Submitted By: Legal Connect
Reference Number: 5054226_2021_12_08_19_50_47_213_3
Submission Number: 21LA04449202
Court Received Date: 12/08/2021
Court Received Time: 11:53 am
Case Number: 21STCV39553
Case Title: JUANA ELISA CARRILLO GEIZ vs ARGUS CONTRACTING LP, et al.
Location: Spring Street Courthouse
Case Type: Civil Unlimited
Case Category: Other Employment Complaint Case
Jurisdictional Amount: Over $25,000
Notice Generated Date: 12/08/2021
Notice Generated Time: 12:22 pm

Documents Electronically Filed/Received                   Status

Answer                                                  Accepted




Comments
Submitter's Comments:

Clerk's Comments:

Electronic Filing Service Provider Information
Service Provider: Legal Connect
Contact: Legal Connect
Phone: (800) 909-6859




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